EXHIBIT 9
STARTING THE
2020-21 SCHOOL YEAR
JUNE 23, 2020
PART 3 - TRANSITION JOINT GUIDANCE




                                     Exhibit 9: Page 1 of 63
                                                             Table of Contents

Executive Summary ...................................................................................................................................... 3
Introduction ................................................................................................................................................... 8
Phase 4 Overview ......................................................................................................................................... 9
Planning ...................................................................................................................................................... 10
Communication with Families .................................................................................................................... 12
   Child Care ............................................................................................................................................... 13
   Signs and Messages ................................................................................................................................ 13
   Intake Survey and Community Partnerships ........................................................................................... 14
Blended Remote Learning Days ................................................................................................................. 15
   Student Scheduling Considerations ........................................................................................................ 15
   Sample Schedules and Child Care .......................................................................................................... 17
Student Attendance ..................................................................................................................................... 17
Staff Attendance.......................................................................................................................................... 18
Calendar Considerations ............................................................................................................................. 18
Instructional Recommendations.................................................................................................................. 19
   Back-to-School Events............................................................................................................................ 19
   Vertical Grade Level Articulation........................................................................................................... 20
   Assessing Students’ Skill Levels ............................................................................................................ 20
   Addressing Learning Loss ...................................................................................................................... 21
   Instructional Best Practices for Maintaining Social Distancing ............................................................. 22
       Social Distancing in Early Childhood Education................................................................................ 23
   Special Education Considerations........................................................................................................... 24
   English Learner Considerations .............................................................................................................. 24
   Grading ................................................................................................................................................... 25
   Professional Learning and Staffing ......................................................................................................... 26
   New Teacher Mentorship Program ......................................................................................................... 27
   Professional Learning ............................................................................................................................. 27
   Utilizing Teacher Leaders ....................................................................................................................... 28
   Statewide Coaches .................................................................................................................................. 28
   Technology ............................................................................................................................................. 29
Health and Safety Protocols IDPH Guidance ............................................................................................. 30
   Preparing for When a Student or Staff Member Becomes Sick.............................................................. 30

                                                                                1

                                                                                                                     Exhibit 9: Page 2 of 63
   Hand Hygiene ......................................................................................................................................... 31
   Face Coverings........................................................................................................................................ 32
   Social Distancing .................................................................................................................................... 34
   Personal Protective Equipment ............................................................................................................... 34
   Schoolwide Cleaning and Disinfection to Prevent the Spread of Infection ............................................ 35
   Student Transportation ............................................................................................................................ 41
   Physical Education, Gymnasiums, Pools, and Locker Rooms................................................................ 42
   Illness and Diagnoses Monitoring........................................................................................................... 43
   Mental Health.......................................................................................................................................... 43
   Napping/Rest Time ................................................................................................................................. 44
   Instructional (Self-Contained) Classrooms Housing Students Who Are Medically Fragile or May Have
   Behavioral, Developmental, or Emotional Challenges ........................................................................... 44
   Related Services for Students (OT/PT, Speech, Social Work Services, etc.) ......................................... 44
   Before- and After-Care and Other Programs .......................................................................................... 45
   Library Areas .......................................................................................................................................... 45
   Health Offices ......................................................................................................................................... 45
   Extracurriculars ....................................................................................................................................... 47
   Playgrounds............................................................................................................................................. 47
   Auditorium/Multi-Purpose Rooms ......................................................................................................... 47
   Career and Technical Education and Dual Credit ................................................................................... 47
   Field Trips ............................................................................................................................................... 48
References ................................................................................................................................................... 49
Appendix A………………………………………………………………………………………………. 54
Appendix B………………………………………………………………………………………………. 55
Appendix C………………………………………………………………………………………………. 56
Appendix D………………………………………………………………………………………………. 58
Appendix E ……………………………………………………………………………………………… 59
Appendix F ……………………………………………………………………………………………… 60




                                                                               2

                                                                                                                    Exhibit 9: Page 3 of 63
Executive Summary
This document is Part Three of the Transition Advisory Workgroup’s recommendations for
transitioning to in-person instruction. This document has been developed in partnership with the
Illinois State Board of Education (ISBE) and the Illinois Department of Public Health (IDPH).

On May 5, 2020, Governor JB Pritzker announced the Restore Illinois plan, which lays out a
public health approach to safely reopen our state. This document focuses on considerations
during Phase 4 of the plan. As the plan notes, the four public health regions of the state may
reach Phase 4 on different dates and possibly must return independently to an earlier phase if
necessitated by public health indicators. See Appendix A for a map of the four public health
regions in Illinois.

Executive Order 2020-40, filed on June 4, 2020, allowed schools to reopen for in-person
instruction in Phase 3. In-person instruction is strongly encouraged in Phase 4; however, it is
critical to note that this does not signify a return to pre-pandemic operations. Appropriate social
distancing, face coverings, enhanced sanitation measures, and other accommodations will be
necessary to ensure the safety of students, staff, and their families. During Phase 4, IDPH
guidelines will:

   •   Require use of appropriate personal protective equipment (PPE), including face
       coverings;
   •   Prohibit more than 50 individuals from gathering in one space;
   •   Require social distancing be observed, as much as possible;
   •   Require that schools conduct symptom screenings and temperature checks or require that
       individuals self-certify that they are free of symptoms before entering school buildings;
       and
   •   Require an increase in schoolwide cleaning and disinfection.

All public and nonpublic schools in Illinois serving prekindergarten through 12th grade students
must follow these guidelines.

It is important to note that these requirements are subject to change pursuant to updated public
health guidance and changing public health conditions. School leaders should remain alert for
any updates.

Schools and districts should also prepare for a return to remote instruction in the event of a
resurgence of the virus or a second wave of it in the fall.

ISBE recommends clear communication with students, families, and staff about expectations and
protocols for all schools. ISBE also recommends collecting information from students and
families via an intake survey/needs assessment to help guide school and district planning and to
connect students and families with resources in advance of the start of the school year.

Each child will return to school having had a unique experience with remote learning. This
document includes instructional recommendations for all schools and districts for the start of the

                                                 3

                                                                         Exhibit 9: Page 4 of 63
2020-21 school year, paying close attention to assessing and addressing learning loss. This
document recommends shifts in instructional practice to help maintain social distancing,
especially for our youngest learners, who may struggle to understand and comply with social
distancing and PPE usage. This document also provides considerations for students with
disabilities and English Learners. ISBE will release an updated Remote Learning
Recommendations document in the coming weeks to further support districts.

Governor JB Pritzker recently signed Public Act 101-0643; the education omnibus legislation
passed during the abbreviated special session. This Public Act addresses multiple education-
related issues, including many important provisions to provide relief to schools and districts
during public health emergencies. The legislation suspends clock hour requirements during a
disaster declaration and allows the State Superintendent to establish minimum clock hour
requirements. The State Superintendent has determined that Remote
and Blended Remote Learning Days must ensure at least 5 clock hours of instruction or school
work for each student. Districts can be flexible in determining how to best meet the requirement
in their own context by counting all learning activities toward the 5 clock hour expectation.

Meaningful professional development will be critical for teachers and staff to be able to meet the
diverse academic and social-emotional needs of students returning to school under the current
circumstances. PA 101-0643 allows every school and district to utilize up to five total Remote
and Blended Remote Learning Planning Days, in addition to normal Teacher Institute Days.
ISBE recommends identifying the grade-level standards that students did not cover in the
previous school year and providing time for vertical articulation to ensure a smooth transition,
especially for students entering new grade bands or schools. ISBE recommends dedicating
professional learning and collaboration time to developing reintegration assessments; preparing
to address students’ mental health needs; evaluating the successes and challenges of remote
learning; and training on recognizing and affirming the socio-economic, cultural, religious,
ethnic, racial, sexual orientation, gender identity/expression, and language diversity of the
population within each district. Teachers and students also will need training on any new
technology devices or programs if the school utilizes Blended Remote Learning Days and/or in
preparation for intermittent returns to Remote Learning Days. ISBE recommends utilizing
teacher leaders, statewide coaching networks, and teacher mentors for ongoing support during
the school year.

Regarding grading, ISBE recommends school districts return to traditional grading policies and
make modifications as necessary. ISBE strongly recommends that any return to traditional
grading policies ensures that students have all the necessary tools, technology, and teacher
supports at school and at home to complete all assignments, take assessments, and complete
projects in a timely manner. Per the School Code, grading policies are the exclusive
responsibilities of local districts (105 ILCS 5/10-20.9a).

Lastly, this document provides guidance from IDPH regarding health and safety protocols for
specific activities and areas of the school. Please note that some of the guidance has been
updated from the Part 2 document released on June 4, 2020, and includes new recommendations
regarding illness and diagnoses monitoring, mental health, nap time, libraries, auditoriums and
multi-purpose rooms, self-contained classrooms, related services, before- and after-care

                                                4

                                                                       Exhibit 9: Page 5 of 63
programs, health offices, extracurriculars, playgrounds, dual credit and career and technical
education, and field trips.




                                                5

                                                                       Exhibit 9: Page 6 of 63
Acknowledgements
The Illinois State Board of Education extends its deepest thanks to the members of the Transition
Advisory Workgroup. The team gave generously of their time and talents, working long hours
with short breaks and during early mornings, late evenings, weekends, and holidays. Each and
every member of the workgroup showed remarkable dedication to producing guidance that
would support fellow educators and serve the best interest of students. The spirit of the
workgroup encapsulated the values of service leadership - that of selflessness, collaboration, and
shared vision. We publicly acknowledge and appreciate the contributions of the practitioners
listed below. Your efforts provided direction in a time of crisis, and we thank you sincerely.

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                                                                    6

                                                                                                 Exhibit 9: Page 7 of 63
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                                                              7

                                                                                         Exhibit 9: Page 8 of 63
Introduction
“Education is the passport to the future, for tomorrow belongs to those who prepare for it today.”
                                                                                  -- Malcolm X

The COVID-19 pandemic wrought a drastic and unexpected upheaval on Illinois schools and
districts. But with creativity, adaptability, and dedication, Illinois’ leaders, educators, families,
and students rose to the challenge.

This Part Three of the Transition Advisory Workgroup’s recommendations follows Part One,
which focused on closing out the 2019-20 school year, and Part Two, which focused on summer
school and other allowable activities. Part Three now addresses the start of the 2020-21 school
year and the return to in-person instruction.

Since March 17, 2020, Illinois schools and districts have provided students with remote learning
opportunities and continuity of education to the greatest extent possible. However, no amount of
technology can replicate the effect of face-to-face interactions and instruction between teachers
and students. This Part Three document endeavors to guide schools and districts in transitioning
back to in-person learning, while holding paramount the health and safety of students and
communities.

ISBE urges schools and districts to plan for and implement the transition to in-person instruction
through the lens of equity. As described in ISBE’s equity statement, “Illinois has an urgent and
collective responsibility to achieve educational equity by ensuring that all policies, programs,
and practices affirm the strengths that each and every child brings within their diverse
backgrounds and life experiences, and by delivering the comprehensive supports, programs, and
educational opportunities they need to succeed.”

This collective responsibility has never been more salient, with the COVID-19 pandemic
exacerbating economic inequalities, heightening the digital divide, and worsening conditions for
students whose mental and physical health and safety was already at risk. The brutal death of
George Floyd and the days of nationwide protests in its wake call upon us as educators to
recommit to eliminating all forms of racism in our school policies. We must be available and
open to hearing students’ concerns. We must root our curricula in the context of what students
see in the world around them. We must value difference.

This is the spirit in which we are providing this Phase 4 guidance. The COVID-19 crisis shook
our structures of teaching and learning to the core, but we have now an opportunity to emerge
stronger and to make lasting changes in the ways we support, teach, connect with, and value each
of the 2 million students in our care. This return to school is not “business as usual” but rather
the convergence of a new reality in educational excellence in Illinois.




                                                   8

                                                                           Exhibit 9: Page 9 of 63
Phase 4 Overview
In-person instruction may resume as regions transition to Phase 4. Districts must follow IDPH
guidelines, which provide the following:

   •   Require use of appropriate personal protective equipment (PPE), including face
       coverings;
   •   Prohibit more than 50 individuals from gathering in one space;
   •   Require social distancing be observed, as much as possible;
   •   Require that schools conduct symptom screenings and temperature checks or require that
       individuals self-certify that they are free of symptoms before entering school buildings;
       and,
   •   Require an increase in schoolwide cleaning and disinfection.

All public and nonpublic schools in Illinois serving prekindergarten through 12th grade
students must follow these guidelines.

It is important to note that these requirements are subject to change pursuant to updated public
health guidance and changing public health conditions. School leaders should remain alert for
any updates.

Schools and districts should also prepare for a return to remote instruction in the event of a
resurgence of the virus or a second wave of it in the fall.

On June 18, 2020, Governor JB Pritzker signed PA 101-0643, the education omnibus legislation
passed during the abbreviated special session. This Public Act addresses many education-related
issues, including many important provisions to provide relief to schools and districts during
public health emergencies. The legislation waives and modifies licensure requirements,
graduation and coursework requirements, educator evaluations, and submission of dental and
vision exams; allows early childhood grantees to serve as emergency child care centers; and
waives state assessment requirements when the state receives a waiver from the U.S. Department
of Education. PA 101-0643 also creates a new important tool schools and districts can utilize
when IDPH requirements cannot be met in a completely in-person learning environment.
Schools and districts can now utilize Remote and Blended Remote Learning Days “when the
Governor has declared a disaster due to a public health emergency pursuant to 15 ILCS 30/1,”
such as the COVID-19 crisis Illinois and the world are currently experiencing.

A region entering Phase 5 requires that a vaccine be developed to prevent additional spread of
COVID-19, a treatment option be readily available that ensures health care capacity is no longer
a concern, or no new cases reported over a sustained period.

Schools and districts are encouraged to provide completely in-person instruction for all students
in Phase 4, provided that the school is able to comply with capacity limits and implement social
distancing measures.


                                                 9

                                                                       Exhibit 9: Page 10 of 63
Planning
PA 101-0643 requires that school districts “adopt a Remote and Blended Remote Learning Day
Plan approved by the district superintendent.” Furthermore, the legislation stipulates that
“Remote Learning Day or Blended Remote Learning Day may be met through a district's
implementation of an e-learning program under Section 10-20.56.”

We recognize the impact COVID-19 has had on each aspect of our education system and the
great potential for the crisis to deepen inequities students face; therefore, we recommend that
schools and districts create a diverse Transition Planning Team in preparation for a return to in-
person instruction under IDPH-approved guidance. Planning Teams (or if a Planning Team is not
established, district administrators) are encouraged to follow the recommendations below.

The Planning Team should consider gathering data on student attendance, engagement, and
academic success, as well as feedback from all stakeholders to assess the effectiveness of the
Remote Learning Day Plan implemented following the suspension of in-person instruction. This
information may be used when developing a revised plan for Remote and Blended Remote
Learning Days. Special consideration should be given to seeking data and feedback regarding the
social-emotional needs of students, parents, and staff as they return to in-person instruction. Data
and feedback should be analyzed through an equity lens to determine what student groups may
need greater supports to meet high standards in a Remote or Blended Remote Learning
environment.

Planning Teams may develop a Remote and Blended Remote Learning Day Plan that is
articulated, clear, and accessible to all stakeholders. We recommend that Planning Teams include
key stakeholders and staff that, at a minimum, may represent the following categories, where
applicable: administrators; educators; school support personnel, including nurses, counselors,
social workers, psychologists, and speech-language pathologists; paraprofessionals; non-licensed
staff; students; and families. Teams should also regularly consult with local public health
officials.

PA 101-0643 requires each Remote and Blended Remote Learning Day Plan to address the
following:

   A) Accessibility of the remote instruction to all students enrolled in the district;
   B) When applicable, a requirement that the Remote Learning Day and Blended Remote
      Learning Day activities reflect the Illinois Learning Standards;
   C) Means for students to confer with an educator, as necessary;
   D) The unique needs of students in special populations, including, but not limited to,
      students eligible for special education under Article 14; students who are English
      Learners, as defined in Section 14C-2; students experiencing homelessness under the
      Education for Homeless Children Act [105 ILCS 45]; or vulnerable student populations;
   E) How the district will take attendance and monitor and verify each student's remote
      participation; and



                                                10

                                                                      Exhibit 9: Page 11 of 63
   F) Transitions from remote learning to on-site learning upon the State Superintendent's
      declaration that Remote Learning Days and Blended Remote Learning Days are no
      longer deemed necessary.

Ensuring all students have access to remote instruction, as required above, includes ensuring all
students have the necessary technology, training, support, and internet connectivity to engage in
the instruction the school is providing and to meet the school’s expectations regarding grades.
Accessibility also includes regular communication with teachers, such as via text, email, phone
call, or an online learning platform.

PA 101-0643 requires that “The district superintendent shall periodically review and amend its
Remote and Blended Remote Learning Day Plan, as needed, to ensure the plan meets the needs
of all students.”

The law also requires that “Each Remote and Blended Remote Learning Day Plan,” including an
e-learning plan, “shall be posted on the school's or district's internet website where other policies,
rules, and standards of conduct are posted and shall be provided to students and faculty.”

The law explicitly states that “This Section does not add any new bargaining rights and does not
remove any established bargaining rights.”

The law states that “Statutory and regulatory curricular mandates and offerings may be
administered via a district’s Remote and Blended Remote Learning Day Plan, except that a
school district may not offer individual behind-the-wheel instruction required by Section 27-24.2
of this Code via a district’s Remote Learning Plan. This section does not relieve schools and
districts from completing all statutory and regulatory curricular mandates and offerings.”
Accordingly, districts’ plans should ensure teachers are able to engage in required trainings and
students are able to complete graduation and other statutory requirements, such as the
Constitution exam. These requirements can be administered and completed remotely.

Lastly, the law waives the daily minimum clock hour requirement but allows the State
Superintendent to institute clock hour requirements: “(j-5) The clock hour requirements of
Subsections (a) through (j) of this Section shall not be in effect when the Governor has declared
a disaster due to a public health emergency pursuant to 15 ILCS 30/1. The State Superintendent
may establish minimum clock hour under 10-30 and 34-18.66 requirements when the Governor
has declared a disaster due to a public health emergency pursuant to 15 ILCS 30/1.”

The State Superintendent has determined that days of instruction during a public health
emergency must include at least 5 clock hours. Remote and Blended Remote Learning Plans
must ensure that at least 5 clock hours of a combination of instruction and school work for each
student participating in Remote or Blended Remote Learning Days occurs. Schools and districts
should include as much face-to-face or synchronous instruction as possible. Districts can be
flexible in determining how to best meet the requirement in their own context by counting all
learning activities toward the 5 clock hour expectation. Learning activities may include, but are
not limited to, in-person instruction, the teacher delivering instruction via recorded video or
synchronous platform, remote small group work via breakout room or conference call,

                                                 11

                                                                        Exhibit 9: Page 12 of 63
independent/flexible student work time, and virtual/telephone teacher-student check-ins. If using
non-interactive platforms, students must have means to confer with an educator and receive
feedback before assignments are graded or assessments are administered. ISBE will release
updated Remote Learning Recommendations in the coming weeks to further support
districts.

ISBE strongly recommends grounding your plan in equity by providing each student the
additional individual supports and resources they need to address learning loss and make
academic gains to meet grade-level standards. Consider available resources, including
Coronavirus Aid, Relief, and Economic Security (CARES) Act funds; Federal Emergency
Management Agency Public Assistance Program grants, when available; federal Title funds; and
state funding sources. Keep in mind the waiver of the 15% carryover limitation for school
districts’ fiscal year 2020 Title I, Part A funds and ISBE’s extension of all FY 2020 state grants
to June 30, 2021.

Schools and districts should prepare for a return to remote instruction in the event of a
resurgence of the virus or a second wave of it in the fall.

The National Institute for Excellence in Teaching Planning Guide includes a section on taking
school- and district-level inventories of students; staff, including available substitutes; facilities,
including available buses; technology, etc. that may be useful to planning teams.

Regarding meal service, the U.S. Department of Agriculture (USDA) extended several key
flexibilities in the Summer Food Service Program and Summer Seamless Option through Aug.
31, 2020, to allow school districts to continue to provide non-congregate meals to meet the needs
of their communities. Currently, such flexibilities do not extend to the National School Lunch
program, which begins for participating districts at the start of the 2020-21 school year. ISBE is
monitoring developments and will request any available flexibilities and waivers offered by the
USDA to support districts in providing meals to students during the 2020-21 school year.

Please see Appendix B for a Phase 4 Transition Guide.


Communication with Families
It is imperative that communication with students and families becomes even more consistent
and frequent as the transition to in-person instruction and/or Blended Remote Learning Days
occurs.

The return to in-person instruction will involve new health and safety protocols and potentially
new schedules, so that means that all schools and districts should “over-communicate” with
parents about what the return to school will look like. Communicate with families about how
they can reinforce and help explain safety protocols at home. Provide families with ample
opportunities to ask questions. Communicate to the greatest extent possible with families in their
native languages and ensure your transition plan and other important information and documents
are translated.

                                                   12

                                                                          Exhibit 9: Page 13 of 63
Schools have an opportunity at this unique moment in history to strengthen relationships with
families. Despite facing significant challenges, parents are engaging deeply in their children’s
education. Parents are and will be critical partners in helping students to recover lost learning and
make academic gains over the course of the school year.

Schools should endeavor to collect current contact information from families and to frequently
ask for updated contact information, especially as changing financial circumstances during the
pandemic may have required a move or a new phone or phone plan.

Child Care
ISBE strongly encourages schools and districts to provide in-person instruction for all students,
especially those under the age of 13, to avoid the need for child care and exposure to additional
individuals. Leaders of schools and districts that decide to implement Remote or Blended
Remote Learning Days, are strongly advised to take these child care needs into account as they
develop their reopening plans. Districts should consider, for example, whether their plan for
serving students in person in smaller groups may lead to many children needing to be in other
settings -- with other groups of children -- for parts of their day and/or week. Such mixing of
children between groups may substantially lessen the effectiveness of districts’ strategies for
limiting children’s contacts to minimize potential virus transmission. Accounting for children’s
entire days and weeks outside of the home when developing plans is advised.

Districts are encouraged to work with partners in their communities, including child care centers,
other before- and after-school child care providers, park districts, churches, and other
community-based organizations, to develop plans that comprehensively address families’ needs
for care before, during, and after school hours and on any days that children will not be able to
attend school in person.

Child care assistance is available for low-income families through the Illinois Department of
Human Services; this is a potential funding source to help with the cost of child care programs.
Districts should also consider exploring community partnerships to ensure educators who are
also parents have access to affordable child care. For more information on child care availability
and guidelines, please visit the COVID-19 resource hub for the Governor’s Office of Early
Childhood Development.

Signs and Messages
The Centers for Disease Control and Prevention (CDC) recommends posting signs and messages
in highly visible locations that reinforce safety precautions and promote every day protective
measures (e.g., proper handwashing and appropriate face coverings). Place signage in multiple
languages outside of main entryways noting a.) that persons may not enter the building if they
have any currently known symptoms of COVID-19, such as fever, cough, shortness of breath or
difficulty breathing, chills, fatigue, muscle and body aches, headache, sore throat, new loss of
taste or smell, congestion or runny nose, nausea, vomiting, or diarrhea; b.) a 6-
foot distance from others must be maintained as much as possible; c.) face covering must be
                                                 13

                                                                       Exhibit 9: Page 14 of 63
worn at all times; and d.) shaking hands or engaging in any other physical contact is prohibited in
school buildings.

The CDC further recommends that schools and districts broadcast regular announcements about
reducing the spread of COVID-19 on public address systems and share videos about behaviors
that prevent the spread of COVID-19 when communicating with staff and families (such as on
school websites, in emails, and on school social media accounts).

Find free CDC print and digital resources on the CDC’s communications resources main page.

Intake Survey and Community Partnerships
The Planning Team may develop an intake form in each student’s native language that assesses
the social and emotional needs of each individual student. Distribute to all students and families
to help educators know of any changes that have taken place in recent months (e.g., loss, illness,
financial need/changes) that may need to be addressed by those who interact with the student
daily. Please see Appendix C for a sample intake survey provided by the Missouri School
Boards' Association’s Center for Education Safety.

The intake form can include items that ask about changes in the family, including questions that
relate to the National School Lunch Program, areas for growth and strengths of the child, shelter
concerns, student employment, academic concerns, quality of the experience with remote
learning in spring 2020, and trauma history. The information gathered will help the school to
provide appropriate support to students and families. Consider collecting this information before
the 2020-21 school year starts or during a beginning of the year orientation so that school
personnel may proactively address students’ needs to support their return to in-person
instruction. Schools should follow all federal and state privacy laws for storing and releasing any
information that is gathered.

The intake form could also ask families about transportation in order to help the school prioritize
transportation needs for students who would absolutely not be able to engage in in-person
instruction without school-provided transportation. Schools and districts should strongly
encourage families to provide transportation for students, when possible.

Surveys also could be distributed to teachers and school staff to determine their support needs,
address concerns, and guide transition planning.

Analyze survey data as soon as feasibly possible and notify the appropriate personnel (e.g.,
teacher, nurse, school counselor, school social worker, school psychologist, food service
director, or administrator) of necessary follow-up prior to the start of the school year. This will
allow personnel to plan and support the needs of students and provide a pathway to connect
students and families with the appropriate, necessary services.

Where possible, establish and enhance school and community partnerships during this time.
Indeed, the transition to in-person instruction may be an especially opportune moment to
strengthen school and community ties to marshal collective resources and develop innovative

                                                 14

                                                                        Exhibit 9: Page 15 of 63
solutions to support student, family, and community success. Consider exploring community
partnerships during the summer to expand the number and types of services available to students
and families, following a community school model. Consider the following:

   •   Organizations coming in to support with counseling - What are the recommendations for
       their engagement?
   •   Tele-mental health services and other telehealth services - How can social workers still
       serve students and make sure their needs are met?
   •   Food pantries, school gardens, school-based closets for students, laundry machines - Can
       those operate as normal?
   •   Computer resources for parents/families – Can parents/families be allowed to safely use
       computers at schools to find jobs?
   •   If truancy workers are making more home visits – What are the rules for home visit
       engagement (especially if students/families are hard to reach, have changing phone
       numbers, addresses, etc.)?
   •   Churches – How can local churches support a school’s needs?
   •   Child care – ISBE recognizes that changes to the school calendar or school schedule may
       result in additional child care needs for some families. Consider exploring community
       partnerships to ensure educators who are also parents have access to affordable child
       care. For more information on child care availability and guidelines, please visit the
       COVID-19 resource hub for the Governor’s Office of Early Childhood Development.


Blended Remote Learning Days
Schools and districts are strongly encouraged to provide in-person instruction to students.
However, schools and districts that are unable to adhere to IDPH requirements may choose to
implement Blended Remote Learning Days, which are authorized by PA 101-0643. During
these days, schools and districts may utilize hybrid models of in-person and remote instruction.

Student Scheduling Considerations
A high priority should be placed on providing in-person instruction for students who have
Individualized Education Programs (IEPs), 504 Plans, and/or who receive English language
supports when building an equitable schedule for Blended Remote Learning Days. These
students should be in attendance in-person daily during Blended Remote Learning Days. In
addition, schools should consider prioritizing in-person instruction for students under the age of
13 and those who have had greater difficulty learning remotely, as evidenced by the intake form
and attendance rates from spring 2020.

IEP teams should consider appropriate in-person instruction for special education students. The
U.S. Department of Education's guidance states, “Where, due to the global emergency and
resulting closures of schools, there has been an inevitable delay in providing services – or even
making decisions about how to provide services - Individualized Education Program (IEP) teams
must make an individualized determination whether and to what extent compensatory services
may be needed when schools resume normal operations.” Students with 504 Plans or who
                                                15

                                                                      Exhibit 9: Page 16 of 63
receive English language services may also have a school-based team consider individualized
transition plans to support the transition to in-person learning. Consider holding a reintegration
meeting with school staff, parents/guardians/caregivers, and students to address any specific
health concerns or learning needs or gaps identified during remote learning.

Schools and districts should review the Centers for Disease Control and Prevention’s list of those
who are at higher risk of severe illness if they are exposed to the coronavirus. Administration
should work closely with school nurses and/or other health officials, as well as the student’s
medical provider, to determine safe alternatives to in-person instruction. Schools and districts
should consider continuing remote instruction for medically fragile students, students at a higher
risk of severe illness, and students who live with individuals at higher risk of severe illness for
the duration of Phase 4. Considerations should include:

   •   Whether the student’s medical condition is conducive to in-person attendance or if needs
       would best be met remotely.
   •   The student’s behavior and capacities, including to control secretions, cover mouth/nose
       when sneezing and coughing, ability to maintain distance from other classmates, ability
       to tolerate wearing a face covering (may consider option of face shield instead), ability to
       wash hands with/without assistance, and ability/safety of use of hand sanitizer.
   •   Number of students per classroom and ability to maintain 6-foot distance, when possible.
   •   Consult with individual student health care providers, if applicable, and IEP teams to
       determine the best modality to meet students’ needs on an individualized basis.
       Appropriate consents must be obtained for communication with outside providers.
       Review IEPs, 504 Plans, asthma action plans, or Individualized Health Plans to determine
       if these plans will need to be amended or modified.

Provide dedicated time for nurses to meet with individual teachers and staff members prior to the
start of student attendance to review health concerns for medically high-risk students who will
attend school in-person to ensure students will receive prompt treatment of health-related
concerns (e.g., asthma action plans, diabetes care plans, and/or other emergency action plans for
conditions that may be exacerbated by chronic medical conditions). Information shall
be provided on a need-to-know basis and not through a health condition list that is distributed
across the building, in accordance with the Family Educational Rights and Privacy Act, the
Illinois School Student Records Act, the Health Insurance Portability and Accountability Act,
and the Americans with Disabilities Act, as applicable.

When planning for students to return to in-person instruction, priority may also be placed on
students under the age of 13 who may not have adequate child care or supports at home or with
other agencies. Schools may also consider whether and when students have employment, as
many more students may have needed to take jobs to help support their families. These students
should be identified prior to the development of schedules and structures to allow for maximum
attendance.

For the remainder of the student population, schools and districts should develop a blended
learning schedule that includes accommodating small groups of students in blocks of time to
adhere to capacity requirements with adequate social distancing.

                                                 16

                                                                       Exhibit 9: Page 17 of 63
The CDC also recommends, where possible, that teachers rather than students move between
classes. See https://www.cdc.gov/coronavirus/2019-ncov/community/schools-
childcare/schools.html. Consider livestreaming class lessons using virtual meeting programs
(Zoom, Google Meets, etc.) to provide students in different classrooms or at home with
synchronous access to the lesson. Similarly, the synchronous lesson could be recorded and used
for asynchronous learning opportunities. Synchronous remote learning should be thoughtfully
structured and scheduled at the building/district level to eliminate an overlap in scheduled
student meetings to ensure that students are able to actively participate in scheduled courses.

Schools and districts may also consider prioritizing in-person instruction for subjects that
students are less able to engage in independently from home, such as classes that require a lab or
hands-on component. The Maryland State Department of Education notes, “Research on summer
slide shows that a break or slowdown in instruction has a greater negative impact on math as
compared to English Language Arts. This suggests that, if school systems cannot teach all
subjects in person, it may be beneficial to prioritize the teaching of math in person (or at least
synchronously via distance learning). Additionally, students are more likely to receive help at
home in reading than in math.”

Sample Schedules and Child Care
In-person instruction should be prioritized for students with IEPs, English Learners, and students
under the age of 13. Sample schedules for schools and districts that choose to implement
Blended Remote Learning Days or phase in in-person instruction at the beginning of the school
year are included in Appendix D and Appendix E. The examples are meant to serve as a starting
point for individual districts as they create schedules in preparation for the transition back to in-
person instruction, blended remote instruction, or both. ISBE strongly encourages in-person
instruction for students to the greatest extent possible while keeping health and safety as the
number one priority.

When crafting student schedules, it is important to keep child care needs of your community in
mind. It is estimated that 700,000 school age children (ages 6-12) in Illinois reside in households
where all parents work and likely require some form of out-of-school child care. When children
aged 0-6 are included, an estimated 1-1.2 million parents rely on child care to return to work.
Blended remote learning will likely increase the rate of infection and the demand for center-
based and non-relative care, increasing the number of different people that children are in contact
with each week and, thereby, their probability of exposure to the virus.


Student Attendance
Daily attendance and engagement of students should be expected whether students are
participating in classes in-person or remotely. Districts, schools, and teachers should make daily
contact with all students and families, especially those who are not in attendance or not engaging
in classes, whether in-person or remotely. Districts must discontinue practices or rewards that


                                                 17

                                                                       Exhibit 9: Page 18 of 63
encourage perfect attendance or would discourage individuals from staying at home when they
are ill.

View ISBE’s recommendations for how to collect attendance remotely at
www.isbe.net/Documents/Student-Attendance-Guidance-5-4-20.pdf.
All teachers and school staff should keep in mind state laws mandating the reporting of child
abuse and neglect and the Children’s Advocacy Centers of Illinois’ helpful tips for protecting
students at www.isbe.net/Documents/CACI-Essential4kids-Schools.pdf. View joint guidance
from ISBE and the Department of Children and Family Services (DCFS) for further outreach if a
school has not made contact with a student for more than five days at
www.isbe.net/Documents/DCFS-ISBE-Student-Wellness-Visit.pdf.


Staff Attendance
Schools should endeavor to support staff attendance by providing sufficient planning and
collaboration time and supports, communicating frequently, and engaging staff in planning
processes and decision-making.

School districts should prepare to mitigate the effects of potential increases in teacher
absenteeism with the following considerations: 1) hiring additional subs (e.g., cadre subs, nurse
subs, permanent subs, long-term subs), 2) providing professional development to improve
blended learning or online learning or both, and 3) implementing team teaching or co-teaching
models. Again, school districts should prepare for a rise in absenteeism and a corresponding
increase in necessary spending.

Consider exploring community partnerships to ensure educators who are also parents have access
to affordable child care, especially for Blended Remote Learning Day schedules.


Calendar Considerations
Calendar considerations for local districts need to be thorough and thoughtful. Districts may
consider amending school calendars to include earlier start dates so the first term can be
completed by the end of November in the event there is a second wave of the virus. Many
colleges and universities are pursing this model. ISBE encourages structuring the school day and
school year to add necessary instructional time for students with learning loss and the largest
academic gaps, if resources are available. Summer programming likely will not fully compensate
for learning losses students have experienced. High and consistent student attendance, intensive
planning, and robust programming that may not be possible in the current remote environment
are necessary for summer programs to have a significant positive impact on student achievement.
See https://www.rand.org/pubs/research_reports/RR366-1.html.

Districts that have a Calendar Committee will need to create pathways to have a discussion on
what works best to create calendars to ensure teachers can be present and students can engage in



                                                18

                                                                      Exhibit 9: Page 19 of 63
the learning process. Some additional considerations to keep in mind when creating school
calendars include:
    • Once declared, Remote Learning Days or Blended Remote Learning Days will be
        implemented in any of grades prekindergarten through 12 as days of attendance and shall
        be deemed pupil attendance days for calculation of the length of a school term under
        Section 10-19 of this Code.
    • Four Teacher Institute Days are available to support the transition from remote learning
        at the beginning of the year.
    • PA 101-0643 allows every school and district to utilize up to five total Remote and
        Blended Remote Learning Planning Days.
    • A return to full Remote Learning Days may be necessary in a region if the region returns
        to a lower phase by declaration of the Governor due to public health indicators.
    • Integrating periodic School Improvement Days may provide the necessary time to
        “review and amend its Remote and Blended Remote Learning Day Plan, as needed, to
        ensure the plan meets the needs of all students,” as required by PA 101-0643, and adjust
        accordingly.
    • A year-round school year with the 2021 summer break instead dispersed in smaller
        increments throughout the school year, using research-based models, may reduce the risk
        of students experiencing further learning loss.
    • School districts may choose to provide a longer school year that starts earlier so that
        higher-need students can receive additional instructional time to address learning loss,
        social and emotional needs, and academic gaps.


Instructional Recommendations
Teachers are vitally important in increasing the cognitive abilities of all students during this
unprecedented time (Marzano, 1993; Vandenbrouke et. al, 2018). It will take ingenuity, insight,
and discipline during in-person instruction and Remote and Blended Remote Learning Days to
deliver high-quality instruction. This section of the document includes recommendations on how
to address early childhood education, special education, English Learners, students with 504
Plans, and other related classroom topics. This document is intended to provide guidance for
transitioning into in-person instruction. It is imperative that educators review the Health and
Safety Protocols provided later in this document to ensure they can help support schools as
safe and healthy learning environments. Please note that a 2.0 version of the Remote Learning
Guidance will be forthcoming. It will provide specific details and ideas regarding grade-specific
instructional guidance.


Back-to-School Events
Typical introductory events, such as visit days and orientations designed to allow students and
parents to tour building facilities and meet teachers, may not have occurred at the end of the
2019-20 school year as they have historically. While parent programs, such as back-to-school
nights, open houses, and parent-teacher conferences, etc. may occur during Phase 4 in
accordance with IDPH guidelines, schools are strongly encouraged to hold these events virtually.

                                               19

                                                                     Exhibit 9: Page 20 of 63
Schools may consider implementing virtual tours and meet-the-teacher sessions in areas where
families and teachers have internet access and devices. Schools may consider providing
welcome-to-school packets, including teachers’ pictures and bios; class information; and school
maps in areas where families and teachers do not have the necessary technology.

Vertical Grade Level Articulation
Students likely will not return to the teacher or teachers to which they were assigned prior to the
implementation of remote learning. Educational support staff, administrators, and classrooms
may not be the same, either. Students who are transitioning from fifth to sixth grade, from eighth
to ninth grade, or from one school building to the next may need additional time to adjust once
in-person instruction resumes. Junior high/middle school staff are encouraged to communicate
with their high school counterparts to ensure a seamless transition for eighth-grade students
moving to high school and for sixth-grade students entering a junior high/middle school setting
for the first time. Virtual articulation sessions may include information about specific students,
scheduling recommendations, or curriculum needs, as referenced in the Planning section.

Teachers or curriculum teams composed of current grade-level representatives and previous
grade-level representatives may consider meeting to determine any standards that must be
reviewed with students upon moving to the next grade level. This review may or may not be
graded since it would be a review for some students who engaged in remote learning and new for
others. Addressing students’ standards gaps attends to equity principles and supports students as
they return to school.

Districts may consider allowing the first day(s) of in-person instruction to be spent with the
previous year's teacher and classmates to allow time for closure. Consider holding small group
closure activities. The current teacher could take students to meet their new teacher and see their
new classroom if they are staying in the same building.

Assessing Students’ Skill Levels
Teachers should identify the standards that were not covered during remote learning. When
making determinations to fill in learning gaps, consider the following questions:
   • Which standards were missed or partially covered?
   • What are the aligned standards at the current grade level?
   • What are the skills required to master the missed or partially covered standards?
   • Will the standard stand alone in instruction or can it be layered in the current grade-level
      standard?
   • What is the timeline in which the standard will be covered?

Each student will have had a unique remote learning experience. Students will enter the 2020-21
school year with various levels of mastery of prior coursework. For this reason, schools may
consider assessing students in each content area to inform teachers of current student
achievement and needs. Reintegration assessments can be teacher-developed “quick checks” to

                                                20

                                                                      Exhibit 9: Page 21 of 63
help inform vertical articulation and help teachers identify focus areas in specific standards for
individual students. The recommendation to assess is not meant to replace existing screening or
placement assessments that schools and districts normally administer at the local level.

The American Federation of Teachers recommends that “An extensive review of all assessment
programs should be conducted to prioritize assessments that provide teachers with critical
information and to decrease the amount of teaching/learning time lost to assessments. Ideally,
diagnostics should be teacher-friendly and accompanied by access to relevant instructional
resources and supports to fill gaps.” Consider test stress and burnout in scheduling assessments.

Information from reintegration assessments should be used to determine student learning gaps
and target individual student needs. Additionally, data can be used to modify the anticipated
curriculum and inform instruction to support students. These reintegration assessments should
not be determinants in identifying changes in services for students with IEPs or 504 Plans or for
English Learners. Note that assessments may need to be modified or accommodations made as
necessary for students to engage in them.

The 2020 ACCESS scores can be used for English Learner student placement because the
ACCESS testing was completed prior to the implementation of remote learning. Administrators
should provide ACCESS scores to the teachers.

Addressing Learning Loss
As educators, we have an opportunity to leverage our current situation around what we want our
students to know and be able to do. Teacher collective efficacy is necessary to address learning
loss and develop an instructional plan moving each grade level, teacher, and student forward
with his/her learning.

Students may enter the upcoming school year with academic knowledge that varies more greatly
between students than in previous school years. Teachers should use targeted interventions and
differentiated instruction to help individual students reach their learning goals.

The upcoming school year will not pick up where the previous year left off. Employing
curriculum grounded in best practices and pedagogy is more essential now than ever. All
teachers should be afforded the resources and opportunity to meet the needs of their students in
their classrooms, whether virtual or in person. Teachers will assess individual student learning
and deficits within their classes by administering assessments and working closely with teachers
at previous and subsequent grade levels to determine the standards that may need review. The
knowledge gained through these activities will enable teachers to design supports to meet
students’ individual needs. Individualized supports can include, but are not limited to, tutoring,
extended school days, support personnel, and technology.

Designing curriculum around students’ lived experiences can provide opportunities for students
to engage more deeply with content while providing the time and space for students to process
recent events. Care should be taken to ensure that these curricular experiences are appropriate for
and respectful of students’ experiences.

                                                21

                                                                      Exhibit 9: Page 22 of 63
While advancing student learning, schools should develop plans to bring students up to grade
level. They must provide time for students to address incompletes while not falling further
behind. Students must have the opportunity to recover from skill deficits that resulted from
remote learning. The creation of curriculum in remote learning should be grounded in best
practices/pedagogy so that it will be utilized in both remote and in-person learning environments.

Some regression during remote learning is expected. Consider the following suggestions to
address the loss of academic skills and knowledge during the school closure:
   • During the first several weeks of school, prioritize a strong review and infusion of the
       critical standards and key skills that were not addressed or mastered from the previous
       year.
   • Provide and/or expand intervention time within the school day to help fill learning gaps
       for individual students.
   • Incorporate before-, during, and after- school tutoring programs if they do not currently
       exist.
   • Meet (virtually, if possible) with students’ families to have evidence-based discussions
       regarding a student’s skill levels and academic and social-emotional needs, how the
       school will support the student’s individualized goals and needs, and how families can
       support the student at home.

Instructional Best Practices for Maintaining Social
Distancing
Educators are at the center of teaching and learning. We want to acknowledge we are
experiencing an unprecedented event in our lifetimes and that more supports for educators are
needed in order to meet the unique challenges schools face today. The next part of ISBE’s
transition guidance will go deeper into specific opportunities to support one another so that we
can deal with the reality of social distancing in our classrooms.

To help students comply with social distancing as much as possible, consider revising activities
that combine classes or grade levels or require travel to other buildings. Consider synchronously
broadcasting in-class instruction to multiple rooms to allow students to spread out. Implement a
home-room stay, meaning the teachers rotate instead of the students. Consider moving class
activities outdoors if weather and safety considerations permit.

Using manipulatives and models can be critical in helping students internalize concepts that are
abstract, such as the concepts students encounter in math and science classrooms. The use of
digital manipulatives is encouraged, when possible. Schools must ensure to the greatest extend
possible that students have access to their own set of non-digital manipulatives or that shared sets
are sanitized between uses.

Students and teachers rely on facial cues from each other. Consider using face shields or signs
with different facial expressions or colors to help convey emotion, social norms, and feelings.


                                                22

                                                                      Exhibit 9: Page 23 of 63
Maximizing face-to-face time in classrooms is essential. When possible, content area teachers at
the same grade level should work together to explore ways to integrate information from
different content areas in multidisciplinary learning experiences. For example, science and social
studies teachers can review the Common Core Language Arts Standards for Grades 6-12
Literacy in History/Social Studies, Science, and Technical Subjects and meaningfully
incorporate language arts instruction into their courses, in addition to covering their content area
standards.

Social Distancing in Early Childhood Education
Attention to our youngest learners is especially important when considering social events that
prepare and orient this group of learners to the routines, schedules, and patterns of their school
environment that may not be possible as usual. Young students may struggle more than other
students with understanding and complying with social distancing and wearing face coverings.

Students should remain in small groups with the same students and remain 6 feet apart as much
as possible. Having instruction outside may help with social distancing requirements. Arrange
developmentally appropriate activities for smaller group activities.

Teachers should rearrange furniture and play spaces to meet social distancing requirements,
when possible. Find creative ways to allow students to create their own space using yarn,
masking tape, or other materials.

Teachers should implement strategies to model and reinforce social and physical distancing and
movement. Suggestions include:
   • Use carpet squares, mats, trays, or other visuals for spacing.
   • Model social distancing when interacting with children, families, and staff.
   • Create and develop a scripted story/role play around social distancing, as well as
      handwashing, proper etiquette for sneezes, coughs, etc.
   • Give frequent verbal reminders to children.
   • Hang pictures within the school building to give constant reminders.
   • Send home a tip sheet to parents and caregivers so they can also learn about social
      distancing.
   • Offer more opportunities for individual play and solo activities, such as fine motor
      activities (e.g., drawing, coloring, cutting, puzzles, and other manipulatives).
   • Plan activities that do not require close physical contact between multiple children. Keep
      groups separate for special activities, such as art, music, and exercising.
   • Stagger indoor and outdoor play and adjust schedules to reduce the number of children in
      the same area.

Teach, model, and reinforce healthy hygiene habits and social skills. Suggestions include:
   • Explain to students why it’s not healthy to share drinks or food.
   • Practice frequent hand hygiene by teaching a child-friendly song or counting to 20.
   • Teach students to use tissue to wipe their nose and to cough inside their elbow.



                                                 23

                                                                       Exhibit 9: Page 24 of 63
   •   Model and practice hand hygiene before and after eating, coughing, sneezing, playing
       outside, and using the restroom.

Create a classroom environment that promotes positive teacher and student relationships that
support student social-emotional well-being and self-esteem. Suggestions include:
   • Promote empathy through conversations about other people’s feelings and perspectives.
       Talk about responsibilities.
   • Build a coping toolbox that includes body- and mind-calming strategies.
   • Read children’s books to help support the children when they may be feeling anxious or
       sad (e.g., “Grumpy Monkey,” which explains that it’s OK to be sad or have unexplained
       feelings).

Special Education Considerations
Districts remain responsible for ensuring that special education students receive a free
appropriate public education. They are required to address the individual needs of students
eligible for special education services. Blended Remote Learning Plans must address the unique
needs of students eligible for special education services. Conversations at the district level should
include the type of training that should be provided to the classroom teacher and, when
applicable, the paraprofessional; the planning time that should be provided; and collaboration for
Blended Remote Learning Days. It is important to utilize paraprofessionals in the general
education classroom during the transition from remote learning.

Districts must adhere to timelines for annual IEP meetings and required evaluations. There
continues to be limited flexibility from complying with federal and state laws. All Individuals
with Disabilities Education Act and Section 504 timelines remain in effect. IEP teams should
meet to determine whether any amendments to students IEPs are necessary to address students’
current levels of performance.

IEP teams must make individualized determinations regarding placement and where special
education students receive services. Students must receive education in their least restrictive
environment, according to federal and state laws. Staff, therapists, and paraprofessionals may be
able to work in person with students if appropriate safety measures are in place.

Additional guidance may be provided on transition and special education services.

English Learner Considerations
Language development is an interactive and socially driven process. Any support that can be
provided to English Learners to facilitate interactive dialogue with native English-speaking peers
or adults, especially on academic topics, is essential. It is also essential that our students in a
bilingual program dialogue with peers and adults on academic topics in their home languages, as
well as English, to ensure that their development does not stall. Language use and expectations
must be targeted and authentic and activities must be meaningful to ensure students achieve


                                                 24

                                                                       Exhibit 9: Page 25 of 63
linguistic and academic growth, whether English or native language instruction is online, in-
person, or a hybrid.

In-person instruction should be prioritized for English Learners. We recommend that in addition
to more traditional native language materials, consideration should be given to utilizing native
language television, radio, and social media to help students continue their native language
learning. Other scaffolds for English or native language instruction may include an extension of
time for assignments, videos with captioning or embedded interpreting, accessible or translated
reading materials, or other technological solutions. Authentic, targeted lessons utilizing
technology that encourages verbal interaction will help students better prepare for online
ACCESS testing. Additionally, we encourage educators to strategically utilize resources for
English Learners identified on ISBE’s Continuing Education #KeepLearning page.

Language learners often require instruction on how to properly pronounce phonemes, syllables,
and words. This is typically done through direct observation of the teacher’s mouth or tongue
position. Such demonstrations will be impeded by traditional face coverings. We recommend
using face coverings with clear windows or face shields during instruction or pre-recording these
demonstrations.

When developing instruction for English Learners, educators must continue to continue to apply
the Illinois English Language Development Standards and utilize the WIDA Can-Do Descriptors
for listening, speaking, reading, and writing. Keeping these two documents in mind and
differentiating instruction based on each student’s English proficiency level will help ensure that
lessons are scaffolded appropriately for students. Additionally, early learning educators have
language acquisition tools to drive supports of young language learners. The Early Learning
Development Standards are central in providing guidance with an emphasis of parental
involvement, which is so important to a young child’s language development. More resources for
educators of young English Learners, including online learning modules for educators, can be
found through WIDA Early Years.

Keep in mind that multilingual students and families may have difficulty navigating online
platforms and resources that require an understanding of English. When possible, schools and
districts should provide language support to help students and families to access the resources
used for remote instruction. Schools, districts, and educators are encouraged to harness the
strengths of their parent organizations to build supports and scaffolds for families. Such supports
and scaffolds could include “Virtual Parent Universities” or “Parent PD” to help parents and
other family members understand how best to support their bilingual students’ language
development and learning at home. We encourage stakeholders to collaborate creatively to
continue to meet the needs of English Learners.


Grading
ISBE’s original recommendations for grading during remote learning considered the sudden,
drastic, and unexpected impact of the COVID-19 pandemic on all districts and the necessity of
beginning the suspension of in-person instruction with non-instructional Act of God Days.

                                                25

                                                                      Exhibit 9: Page 26 of 63
Students and districts needed every available flexibility regarding grading in order to navigate
these uncharted waters without deepening existing inequities and without knowing when in-
person instruction might resume. The recommendation that grading “do no harm” to students
sought to accommodate the vastly different physical, mental, economic, technological, and
social-emotional experiences of Illinois’ 2 million students, most of whom were engaging in
remote school day learning for the first time.

Schools and districts should re-evaluate and modify traditional grading policies, as necessary, as
we plan for a return to in-person or blended remote instruction. This may mean a return to
traditional grades for completion of assignments, assessments, and other classroom instructional
strategies. ISBE strongly recommends that any return to traditional grading policies ensures that
students have all the necessary tools, technology, and teacher supports at school and at home to
complete all assignments, take assessments, and complete projects in a timely manner. This may
mean ensuring that all students have devices and connectivity opportunities at their homes before
resuming traditional grading practices.

Per the School Code, grading policies are the exclusive responsibilities of local districts (105
ILCS 5/10-20.9a). ISBE does not require any specific grading practice, policy, or philosophy, but
we suggest that you may want to include any successful strategies or modifications implemented
during remote learning as part of the planning and transition to in-person instruction and/or
blended remote learning.

Professional Learning and Staffing
Schools should thoroughly and thoughtfully consider what the transition from the home
environment (flexible schedules, increased screen time, extended time with parents/caregivers) to
the school environment (in-school schedule, decreased screen time, increased interaction with
school staff and peers) means for all learners. Schools and districts are encouraged to use
professional development days to prepare evidence-based instructional methods and materials, to
plan to attend to students’ social-emotional and mental health needs, and for training on new
health and safety protocols. Optional summer learning opportunities may be considered for
educators to hone their remote learning craft and discuss best instructional strategies for a
blended learning environment.

Districts should consider, but not be limited to, the following with regard to professional
learning:
    • Providing staff training recognizing and affirming the unique socio-economic, cultural,
        religious, ethnic, racial, sexual orientation, gender identity/expression, and language
        diversity of the population within each district.
    • Developing student and staff mental health and counseling plans and training on offering
        social-emotional supports, including bullying prevention.
    • Identifying the successes and barriers for students, staff, and the community during
        remote learning, including enhancements to prepare for a blended learning environment
        or in preparation for intermittent/rolling school closures.



                                                26

                                                                      Exhibit 9: Page 27 of 63
   •   Reviewing student progress during remote learning, identifying gaps, and planning for
       the appropriate continuation of learning transitioning to our “new normal” for the 2020-
       21 school year.
   •   Preparing local assessments to determine current skill level, including, but not limited to:
           o Formative assessments.
           o Alignment conversations and planning with prior teachers.
           o Discussions with parents/guardians/caregivers about student progress and
              additional supports needed at home.
           o Modifying and adjusting of curriculum and instruction.
           o Communicating learning expectations to parents in a blended learning model.
           o Modifying or taking into consideration extending time for all students with a
              specific equity lens on identified gaps and appropriate interventions to close the
              gaps.

New Teacher Mentorship Program
ISBE encourages schools and districts to sponsor new teacher mentorship programs to support
new teachers entering the profession at a time where there are many unknowns.

These programs can provide meaningful support via one-on-one coaching, weekly/monthly
check-ins, and someone to call in the case of needing extra support. Online video support can be
considered, but is not required, where the teacher videos self and the mentor watches and gives
feedback and support.

The mentorship should be an adaptable and individualized process in which the new teacher
brings to the table what they need assistance in or are struggling with. The process will look
different from teacher to teacher.

The mentoring process should not be time-consuming or work-intensive, but be reflective in
nature.

Professional Learning
Provide options for asynchronous/synchronous professional learning by creating or utilizing
existing online options and forms of completion for credit hours.

It may be possible to structure the school day during which a small number of teachers are
receiving professional learning in the morning while teaching in the afternoon. Those teaching in
the morning would receive professional learning in the afternoon.

Informal as well as formal professional learning can be implemented. Informal could be a
“Coffee with the Coaches” type format online or even a quick conversation with teachers in
person before or after school.




                                                27

                                                                      Exhibit 9: Page 28 of 63
Formal professional learning pertaining to analyzing and utilizing data, implementing
technology, or improving instructional methods could be conducted via Zoom, Google Meet, or
in person during Remote Learning Planning Days or School Improvement Days.

Utilizing Teacher Leaders
We must take this opportunity to honor and leverage our teacher leaders without overwhelming
them with additional tasks/responsibilities.

Identify teacher leaders who believe and will invest in the vision of the district by having
conversations and building relationships and teams. Teachers are and should be treated as an
integral part of the planning process.

Providing opportunities for teachers to grow and contribute professionally serves to enhance
engagement and motivation toward accomplishing goals aligned to the district vision. Staff are
more likely to come forward and express their thoughts and talents when they see teachers
receiving feedback.

Teacher autonomy (to an extent) as well as administrative and board support is paramount in
creating a desired “opportunity culture.”

Teacher leaders would:

   ● Create goals followed by action steps that correlate with the vision/mission of the district.
   ● Work with coaches and administrators on recommendations regarding professional
     development.
   ● Work with teachers as mentors and help provide meaningful feedback regarding blended
     learning, e-learning, or socially distanced in-person learning.
   ● Create opportunities for other teachers to lead.
   ● Serve as mentors to teachers new to the district as well as those new to the profession.
   ● With assistance from administrators and coaches, work with mentees and other teachers
     to utilize research-based methods, best practices, and data analysis to improve student
     learning.
   ● Have the opportunity to seek out and receive teacher leadership professional development
     in addition to basic training on technology, instructional methods, etc.

Statewide Coaches
Not every school district has access to in-house coaching for instructional staff, so consider
leveraging professional organizations that have coaches and instructional leaders. They can
contribute to the professional learning of teachers in need of innovative instructional practices
for student learning and growth in every part of the state.

Consider developing a network of instructional leaders at the regional and statewide level for
virtual office hours in order to support the needs of teachers in a remote learning or blended
learning delivery system, depending on the needs of the district or school.
                                                 28

                                                                       Exhibit 9: Page 29 of 63
Capacity building especially helps the teacher who could not complete their student teaching and
is possibly entering into service in a new district with few contacts or connections. Capacity
building also supports the field of educators as whole as we all adjust to a new normal.

Elements of capacity building for districts and schools interested in participating include:

   ● School districts willing to share coaches with their “neighbors” throughout Illinois.
   ● Good connectivity of the teacher’s home or school - the same with the coach.
   ● Common platforms (Google, IOS, Microsoft, Zoom) and common programs (FlipGrid,
     WeVideo, etc.).
   ● Time and coordination.
   ● A focus on instruction and student growth in coaching sessions (technology is a “side
     dish”); utilization of a student-centered model.
   ● Analysis of existing conditions in the school to help the teacher address the needs of
     students with IEPs and English Learners.

Technology
Schools and districts should make every effort to provide students and families with the
technology devices and internet access necessary to successfully participate in remote learning.
Schools and districts must be prepared for a return to full remote instruction in the event of a
resurgence of the virus or a second wave of it in the fall.

Some students and families may still lack internet access at home despite districts’ best efforts.
Consider providing students who have a device -- but not internet access -- with coursework
loaded on a flash drive or other similar file storage device. Implement a system to provide
students with the necessary videos, worksheets, and other resources to complete their work at
home, turn in their assignments, and obtain new work.

During in-person instruction, incorporate activities that help familiarize students with the
technology devices and programs they will utilize during remote learning. Individual technology
devices can also be useful in the classroom, given the restrictions in Phase 4 on sharing items
such as pencils. Consider meaningful integration of technology tools during daily instruction to
facilitate learning and provide students with opportunities to become familiar with the features of
online programs and technology devices.

Teach students how to maintain their devices, guidelines for basic device function, internet
safety, as well as problem-solving techniques that can be utilized if the student has technology
difficulties during remote learning. Provide instructions for accessing technology assistance.
These skills can be taught and reinforced during face-to-face instruction. Consider providing
brief instructional videos or written instructions to students and families to facilitate
troubleshooting at home.

Consider utilizing a virtual boot camp for students who are learning remotely to walk them
through the use of different technology programs. Video conferencing programs could provide

                                                 29

                                                                       Exhibit 9: Page 30 of 63
synchronous training on programs, which would enable students and families to ask questions
and receive feedback in real time. Including interactive experiences by having students actively
use the online program during the boot camp will increase motivation, engagement, and student
understanding of the program. Consider recording synchronous sessions to use later as
asynchronous training tools.

Students also will need regular access to technology support, whether through an email address,
online form, or video bank. Consider teaching students how to troubleshoot common technology
problems.

Schools should take stock of the technologies and lessons learned during remote learning to
provide a plan for the 2020-21 school year. As a reminder, teachers and students will need a
clear schedule with appropriate breaks to avoid burnout and confusion.


Health and Safety Protocols IDPH Guidance
Districts should proactively prepare staff and students to prevent the spread of COVID-19 or any
other infectious disease. All employees should be trained on health and safety protocols related
to COVID-19 prior to resuming in-person instruction. Consider referring to recommendations
and strategies from the CDC: Guidance for Businesses and Employers and Considerations for
Schools for guidance. Sections of this guidance were previously published in Part 2 and may be
updated.

Preparing for When a Student or Staff Member Becomes
Sick
School districts need to be prepared and able to respond effectively when there is a case within
the school community, whether it be a student or staff member participating in allowable
activities. Schools and districts should communicate with families and staff that any individual
who tests positive for COVID-19 or who shows any signs or symptoms of illness should stay
home. Families and staff should also report possible cases to the school where the individual
attends school or works to initiate contact tracing.

Currently known symptoms of COVID-19 are fever, cough, shortness of breath or difficulty
breathing, chills, fatigue, muscle and body aches, headache, sore throat, new loss of taste or
smell, congestion or runny nose, nausea, vomiting, or diarrhea.

Attendance personnel should request specific symptom reporting when absences are reported
along with COVID-19 diagnoses and COVID-19 exposure. Information should be documented
and shared with the health staff or other appropriate personnel and the local health department.

In accordance with state and federal guidance, school community members who are sick should
not return to school until they have met criteria to return. Schools may wish to consider a
symptom checklist for families and staff to use to determine if they are well enough to attend that
day. CDC and IDPH guidelines for students who were suspected of having COVID-19, whether

                                                30

                                                                      Exhibit 9: Page 31 of 63
they were tested or not, state that 24 hours must elapse from resolution of fever without fever-
reducing medication and 10 days must pass after symptoms first appeared. It is recommended
that medically fragile and immunocompromised students consult their medical provider prior to
attending school.

Students or staff returning from illness related to COVID-19 should call to check in with the
school nurse or building administrator (if a nurse is unavailable) following quarantine.

Any individual within the school environment who shows symptoms should be immediately
separated from the rest of the school population. Individuals who are sick should be sent home. If
emergency services are necessary, call 911. When interacting with students or staff who may be
sick, school nurses and personnel should follow CDC guidance on standard and transmission-
based precautions.

Schools hosting allowable activities should designate a safe area to quarantine any individuals
who are experiencing COVID-19-like symptoms and may be awaiting pickup/evaluation.
Students should never be left alone and must always be supervised while maintaining necessary
precautions.

Close off any areas of the school used by a sick person and do not use these areas until after
proper cleaning and disinfection procedures have been completed. Open windows to increase air
circulation in the area. It is advised by the CDC to wait at least 24 hours before cleaning and
disinfecting; if 24 hours are not possible, wait as long as is possible. Clean and disinfect all areas,
such as offices, bathrooms, common areas, shared electronic equipment, etc., used by the person
who is sick. Vacuum the space, if needed, with a high-efficiency particulate air (HEPA) filter, if
available. Do not vacuum a room or space that has people in it. Wait until the room or space is
empty to vacuum, such as at night, and temporarily turn off room fans and the central HVAC
system that services the room or space, so that particles that escape from vacuuming will not
circulate throughout the facility. The area can be opened for use once it has been appropriately
disinfected. Ensure cleaning products are stored and used a safe distance away from children and
staff.

Individuals who did not have close contact with the person who is sick can return to work
immediately after disinfection. Those who had contact with someone who tested positive for
COVID-19 or is suspected of having COVID-19 infection should isolate at home and monitor for
symptoms for 14 days. Close contact means the individual was within 6 feet of the individual
with symptoms for more than 15 minutes. Additional cleaning and disinfection is not necessary
if more than seven days have elapsed since the person who is sick visited or used the school.
Continue routine cleaning and disinfection. This includes everyday practices that schools
normally use to maintain a healthy environment.

Hand Hygiene
Districts should encourage frequent and proper handwashing. Ensure availability of supplies,
such as soap and paper towels, hand sanitizer, tissues, etc., for all grade levels and in all common
areas of the building. Cloth towels should not be used. Handwashing with soap and water is

                                                  31

                                                                         Exhibit 9: Page 32 of 63
always the first recommended line of defense, but where this is not feasible or readily accessible,
the use of hand sanitizer with at least 60% alcohol may be used. Districts should be cognizant of
any students or staff members with sensitivities or allergies to hand sanitizer or soap and ensure
easy access to alternative handwashing stations.

Hands should be washed often with soap and water for 20 seconds. It is recommended that hand
hygiene is performed upon arrival to and departure from school; after blowing one’s nose,
coughing, or sneezing; following restroom use; before food preparation or before and after
eating; before/after routine care for another person, such as a child; after contact with a person
who is sick; upon return from the playground/physical education; and following glove
removal. Districts should determine any “hot spots” where germ transmission may easily occur
and ensure hand sanitation/handwashing supplies are readily available.

Additionally, districts should adhere to recommendations for safe hand sanitizer use, including:
   • Alcohol-based hand sanitizers should be used under adult supervision with proper child
       safety precautions and stored out of reach of young children to reduce unintended,
       adverse consequences. It will be necessary to ensure that students do not ingest hand
       sanitizer or use it to injure another person.
   • Alcohol-based hand sanitizers must be properly stored – which includes away from high
       temperatures or flames – in accordance with National Fire Protection Agency
       recommendations.
   • Hand sanitizers are not effective when hands are visibly dirty.
   • Alcohol-based hand sanitizers do not remove allergenic proteins from the hands.
   • Staff preparing food in the cafeteria/kitchen should ALWAYS wash their hands with
       soap and water. The IDPH Food Service Sanitation Code does not allow persons who
       work in school cafeteria programs to use hand sanitizers as a substitute for handwashing.
   • The Food and Drug Administration controls sanitizers as over-the-counter drugs because
       they are intended for topical antimicrobial use to prevent disease in humans.

Educate staff and students on healthy hygiene and handwashing to prevent the spread of
infection. Schools may wish to post handwashing posters in the bathrooms, hallways,
classrooms, and other areas, as appropriate. See Centers for Disease Control and Prevention:
Handwashing: Clean Hands Save Lives for free resources. Ensure availability of resources for
teachers, nurses, and other staff members, so they can appropriately train students or review
handwashing procedures. Various classroom lesson, activities, and resources are available.
Districts should also consider additional signage to display on the correct methods for sneezing
and coughing.

Staff and students should be directed and encouraged to avoid touching the face (eye, nose,
mouth) to decrease the transmission of COVID-19 or other infectious diseases.

Face Coverings
All individuals in school buildings, including all public and nonpublic schools that serve students
in prekindergarten through grade 12, must wear face coverings at all times unless they are
younger than 2 years of age; have trouble breathing; or are unconscious, incapacitated, or
                                                32

                                                                      Exhibit 9: Page 33 of 63
otherwise unable to remove the cover without assistance. Face coverings must be worn at all
times in school buildings even when social distancing is maintained. Face coverings do not need
to be worn outside if social distance is maintained. It is recommended that schools require
physicians notes for students and staff who are not able to wear a face covering due to trouble
breathing. It is recommended that schools and districts update policies to require the wearing a
face covering while on school grounds and handle violations in the same manner as other policy
violations.

Teachers may use face shields in lieu of masks. Face shields may be useful in situations where it
is important for students to see how a teacher pronounces words (e.g., English Learners, early
childhood, foreign language, etc.).

There is significant evidence that face coverings provide protection and decrease the spread of
COVID-19. Ensure that the face covering fully covers the mouth and nose, and that the covering
fits snugly against the sides of the face with no gaps. Reusable face coverings should be machine
washed or washed by hand and allowed to dry completely after each use. Districts may wish to
maintain a supply of disposable face coverings in the event that a staff member, student, or
visitor does not have one for use. For additional information, visit CDC: Coronavirus Disease
2019 (COVID-19)-Cloth Face Covers. Additionally, pay special attention to putting on and
removing face coverings for purposes such as eating. After use, the front of the face covering is
considered contaminated and should not be touched during removal or replacement. Hand
hygiene should be performed immediately after removing and after replacing the face covering.
See https://www.cdc.gov/hai/pdfs/ppe/PPE-Sequence.pdf
https://www.cdc.gov/coronavirus/2019-ncov/downloads/cloth-face-covering.pdf.




                                                33

                                                                     Exhibit 9: Page 34 of 63
Social Distancing
Districts should develop procedures to ensure 6-foot physical distance from other persons as
much as possible. The expectation pertains to students and staff members in all areas and
settings to the greatest extent possible. Districts may wish to post visual reminders
throughout school buildings and lay down tape or other indicators of safe distances in areas
where students congregate or line up (e.g., arrival and departure, lunchroom lines, hallways,
recess lines, libraries, cafeterias).

Districts may wish to consider “staggering” schedules for arrivals/dismissals, hall passing
periods, mealtimes, bathroom breaks, etc. to ensure student and staff safety. Staff and students
should abstain from physical contact, including, but not limited to, handshakes, high fives, hugs,
etc.

Staff break areas should be arranged to facilitate social distancing. Break times should be
staggered to minimize eating with mask off near others.

Symptom Screenings
Schools and districts must conduct temperature and symptom screenings or require self-
certification and verification for all staff, students, and visitors entering school buildings.
Individuals who have a temperature greater than 100.4 degrees Fahrenheit/38 degrees Celsius or
currently known symptoms of COVID-19, such as fever, cough, shortness of breath or difficulty
breathing, chills, fatigue, muscle and body aches, headache, sore throat, new loss of taste or
smell, congestion or runny nose, nausea, vomiting, or diarrhea, may not enter buildings.
Individuals who exbibit symptoms should be referred to a medical provider for evaluation,
treatment, and information about when they can return to school.

Personal Protective Equipment
Ensure that appropriate personal protective equipment (PPE) is made available to and used by
staff, as needed, based on exposure risk. Provide training to staff prior to the start of student
attendance on the proper use of PPE, including putting on and removing PPE. In addition,
training should also include directions on the proper disposal of PPE since
inappropriate application or removal of PPE can increase the transmission. Employers are
required to comply with Occupational Safety and Health Administration standards on
bloodborne pathogens, including the proper disposal of PPE and regulated waste. See Appendix
F for examples and uses of PPE and CDC guidelines.




                                                34

                                                                      Exhibit 9: Page 35 of 63
Schoolwide Cleaning and Disinfection to Prevent the Spread
of Infection
Districts should develop sanitation procedures per recommendations of the CDC, IDPH, and
local health departments. More frequent cleaning and disinfection is necessary to reduce
exposure. Visibly dirty areas should be scrubbed to remove visible dirt/soilage and then an
approved disinfectant should be used to kill germs.

Clean frequently touched surfaces (e.g., door handles/knobs, desktops/tabletops, countertops,
light switches, pencil sharpeners, computer keyboards, hands-on learning items, phones, toys,
cubbies/coat and backpack areas, sinks and faucets, buses/vans) on a daily basis. Cloth toys or
other cloth material items that cannot be disinfected should not be used.

Determine means to sanitize soft surfaces, such as carpeted areas, rugs and curtains. Clean with
an approved soap/disinfectant for the surface area. Launder at high temperatures, if possible, and
dry. If cleaning with soap and water is not feasible, disinfect with a household disinfectant that
has been registered with the Environmental Protection Agency (EPA) and follow contact times
on the label. Districts may wish to revisit and revise any green cleaning policies. Vacuum as
usual.

Districts may wish to consider posting scheduled cleaning times and maintain appropriate
documentation upon the completion of cleaning.

Ensure that EPA-approved disinfectants for use against the coronavirus are available to staff
responsible for cleaning. If not available, consult your local health department for guidance
on alternative disinfectants.

   •   Gloves and other appropriate Personal Protective Equipment must be used during
       cleaning and disinfection. Ensure that appropriate PPE is made available to and used by
       staff, as appropriate, based on job-specific duties and risk of exposure.
   •   Always follow label directions.
   •   Allow the required wet contact time.
   •   Keep all disinfectants out of the reach of children.
   •   Do not mix bleach or other cleaning products and disinfectants together.
   •   Ensure that cleaning supplies brought by staff and students are approved by the EPA.

Infection Control Procedures for Specific Areas
Classrooms
It is recommended that teachers provide assigned seating for students and require students to
remain in these seats to the greatest extent possible. Teachers may also develop a marked path of
travel inside the classroom to maintain social distancing from the entry point of the classroom to

                                                35

                                                                     Exhibit 9: Page 36 of 63
the student’s assigned seat. If possible, rearrange desks so that there is a 6-foot distance in all
directions between the desks and face desks in the same direction. Open windows, if possible, for
increased ventilation.

Only allow supervisors and staff who are required for instruction to be in the classrooms. Build
in time for hand hygiene and/or schedule hand hygiene breaks, including before/after eating
snacks/meals and upon exiting and returning to the classroom. Ensure adequate hygiene supplies,
including tissues, hand sanitizer, extra face coverings, handwashing supplies if sinks are present,
soap, paper towels, and gloves for staff, are present in the classroom.

Consider assigning classroom computers to minimize disease transmission. Computer keyboards
and/or touchscreens can be difficult to clean, so consider utilizing keyboard covers to facilitate
cleaning. Shared computers should have signs posted instructing proper hand hygiene before and
after computer use, with handwashing facilities or hand sanitizers readily accessible.

Communicate with parents of younger students to discourage their children from bringing any
toys from home to school. Consider labeling students’ personal items and keeping them in a
separate bag to ensure they remain separate from the belongings of other students.




Shared Objects
Restrict or discourage the borrowing or sharing of any items. The CDC recommends
that electronic devices, toys, books, and other games or learning aids not be shared.

Electronics, including, but not limited to, tablets, touchscreens, keyboards, remote
controls, lunchroom keypads, door entry systems, etc., should be cleaned before and after use.
Consider using a wipeable cover on electronics and clean per the manufacturer’s instructions or
use wipes or sprays of at least 70% alcohol and dry completely.


                                                36

                                                                      Exhibit 9: Page 37 of 63
It is recommended that items that must be shared or communally used be cleaned after each use -
- at a minimum -- and that the individuals perform hand hygiene between use.

Note that the use of liquid disinfectants is harmful to library and archives materials and is not
recommended. Ultraviolet ray exposure as a means of sterilization is also not
recommended. Utilization of hand sanitizer before and after use of books or library material is
recommended.

Be mindful of items like play food, dishes, and utensils that are more likely to be placed in a
younger child’s mouth. Use materials that can be thrown out, cleaned after one use, or labeled
for individual child use. Machine-washable cloth toys should be used by one individual at a time
and cleaned in between uses or not be used at all.

Driver’s Education Behind-the-Wheel Instruction
In order to provide behind-the-wheel training to students in driver’s education in compliance
with all Secretary of State and IDPH safety requirements, the following procedures must be
followed:
    • Allow only two students and one instructor per vehicle.
    • Face coverings must be worn, unless medically contraindicated.
    • Prohibit eating and drinking in the vehicle.
    • Open the windows whenever possible.
    • Do not make any stops during the training that are not applicable to driver’s education to
        reduce the amount of time in the vehicle.
    • Complete hand hygiene with soap and water or hand sanitizer, as appropriate, before and
        after driving and, at the minimum, upon completion. Hand sanitizer should be placed in
        each vehicle.
    • Clean and disinfect the steering wheel, door handles, seatbelt fastener, controls/dials that
        the driver would come in contact with, keys, etc. in between each behind-the-wheel
        session.
    • Conduct regular routine cleaning and disinfecting of the seats.

Music-Related Courses
There is documented evidence of substantial spreading of the coronavirus during musical events
caused by the possibility of droplet and fomite (objects or materials likely to carry infections)
transmission. Indoor rehearsals are discouraged. Consider moving music and band-related
courses outside. It is recommended that music and band classes be organized into smaller
classes, minimizing the number of students for sectional or group rehearsal to provide for social
distancing. Where possible, use separate partitions in open spaces; utilize markings on
classroom floor/wall/practice field.

Students should wear face coverings while singing and avoid touching, choreography, and
singing/playing in circles. Students should sanitize hands prior to handling
instruments. Instruments should not be shared at any time. Sanitize hands after using
instruments. It is permissible for band members to remove their masks during the time they are

                                                 37

                                                                       Exhibit 9: Page 38 of 63
playing, but only if necessary. Students should provide their own equipment for class; sharing of
equipment between students should be prohibited. Long-term rentals are permitted; however,
instruments should be properly cleaned and sanitized between rentals. Students should disinfect
musical instruments between classes, if possible. Instruments should be cleaned using approved
disinfectant and recommended cleaning guidelines (National Federation of State High School
Associations, National Association of Music Merchants, National Association for Music
Education instrument cleaning). Special care shall be taken with instrument mouthpieces; it is
recommended that reed players use plastic instead of cane reeds.

Conductors should face students from more than 10 feet away from the first row of singers/band
members. Where possible, conductors are encouraged to wear glasses/goggles or install a
plexiglass shield.

Consider blended/flipped classrooms, as well as individualized self-management programs, to
reduce the risk of exposure and allow for personal choice/director choice with recording or
practice performance.

Provide virtual learning opportunities or record class rehearsals and share recordings with
students who are unable to attend school in-person.

Traffic Flow, Hallways, and Lockers
Face coverings must be worn at all times. Consider the following hallway procedures
to adhere to social distancing requirements and IDPH limitations on gathering sizes, when
possible:

   •   Limit number of persons within hallways at any given time to the greatest extent
       possible.
   •   Limit required movement of students between classes. Consider having staff
       rotate through classes rather than requiring movement/mixing of student groups.
   •   Provide hallway supervision using hall and bathroom monitors to ensure a limited
       number of persons enter bathrooms at one time.
   •   Hallways could have marked one-way paths and certain staircases could be designated
       one-way only, as possible.
   •   Place floor markings to delineate 6-foot distance between students in locations where
       they line up.
   •   Remove furniture or other items that may encourage congregating in certain areas.
   •   Limit number of riders in elevators to one or two students with an additional adult (when
       student needs continuous support or supervision).
   •   Suspend the use of lockers, if possible. Sharing lockers should be prohibited. If lockers
       must be used, consider staggering locker assignments and create schedules to stagger
       locker access to allow for 6-foot distancing between students. For example, students
       could be assigned to every other or every third locker depending on their width.




                                                38

                                                                      Exhibit 9: Page 39 of 63
Restrooms
Districts should consider means to maintain social distancing in restroom areas. Schools may
wish to consider scheduling restroom breaks and escorting individual classrooms to the restroom
area to monitor social distancing, as appropriate. Districts may wish to add physical barriers,
such as plastic flexible screens, between bathroom sinks and urinals. Appropriate sanitation of
restrooms should be completed as scheduled. Post signs encouraging hand hygiene procedures
in the bathrooms, hallways, classrooms, and other areas, as appropriate. See Centers for Disease
Control and Prevention: Handwashing: Clean Hands Save Lives for free resources. Encourage
students to properly wash hands following restroom use, as age appropriate. Ensure availability
of supplies, such as soap and paper towels.

Drinking Fountains
The temporary shutdown or reduced operation of a building and reductions in normal water use
can create hazards for returning occupants. Follow CDC guidance on flushing water systems and
other measures to prevent the spread of mold and Legionella. Promote the use of reusable water
bottles and train students and staff on appropriate use of drinking fountains:
    • Do not place your mouth on the spout of the fountain or allow your water bottle to come
        into contact with the nozzle when refilling.
    • Ensure the appropriate water flow height to discourage students placing the mouths on
        the spout.
    • Test the water flow and let the water flow for 10 seconds to allow for fresh, clean water
        to come through prior to drinking.
    • If the fountain requires you to push a button or lever, clean the surface before and after or
        use your elbow.
    • Clean your hands afterward with an alcohol-based rub or wash them with soap and
        water.

                                                39

                                                                      Exhibit 9: Page 40 of 63
Develop procedures to maintain social distancing during drinking fountain use by placing floor
markers and signage around fountains. Take steps to ensure that all water systems and features
(e.g., sink faucets, drinking fountains, decorative fountains) are safe to use after a prolonged
facility shutdown. Drinking fountains should be cleaned and sanitized, and districts should
determine how to maintain infection control between student use.

Cafeterias/Food Service
Schools should consider the number of students and adults in the cafeteria during each breakfast
and lunch period and ensure that it does not exceed that maximum gathering size per the Restore
Illinois plan (no more than 10 individuals during Phase 3 and no more than 50 individuals during
Phase 4, if possible). Alternate scheduling or add meal service times to adhere to capacity limits.
Stagger the release of classrooms to the cafeteria to help ensure social distancing while students
wait in line. If possible, consider delivering meals to classrooms or having students eat outdoors
while ensuring social distancing is implemented. If students eat in the classroom, consider how
an allergy-free area will be provided, as needed. Additionally, the room should be disinfected
after eating prior to resuming classroom activities.

Meals should be individually plated. Buffets, salad bars, and the sharing of food and utensils
should be prohibited. Ensure that students are served all items, including items such as milk and
fresh fruits, rather than having students help themselves. Consider using disposable food service
items (e.g., utensils, dishes). Ensure regular precautions are taken regarding food allergies and
dietary needs. If disposable items are not available, ensure that all non-disposable food service
items are handled with gloves and washed with dish soap and hot water or in a dishwasher.

Areas where students consume meals should be thoroughly cleaned and disinfected between
groups and after meals. Food service personnel must use appropriate PPE, including gloves and
face coverings, while preparing and distributing food. Frequent hand hygiene should
be required. Individuals should wash their hands after removing their gloves or after directly
handling food service items that have been used.

Hand hygiene must be performed prior to and after eating a meal or consuming any food
items. Face coverings must be removed during eating, so it is important to ensure 6-foot distance
between individuals as much as possible. Considerations also should be given to food consumed
during times other than mealtimes, such as by preschool students.

Communicate clear mealtime expectations with students and staff.

Administrative Offices and Staff Workspaces/Lounges
Limit any nonessential visitors, volunteers, and activities involving external groups or
organizations, as possible. Restrict any visitors (if allowed) to the main office area, when
possible. Hand hygiene facilities or hand sanitizer should be readily available for visitors to use
upon entry.


                                                 40

                                                                       Exhibit 9: Page 41 of 63
Keep accurate records of visitors, including the individual’s reason for visit, contact information,
and all locations visited, in case contact tracing is needed.

Consider an outdoor drop box for material drop-off. Encourage electronic submission of
documents and electronic payment of any fees. Any discipline meetings, IEP and 504 meetings,
and other meetings between staff and visitors/families should be held remotely, to the greatest
extent possible. However, if parents/guardians are unable to engage in a required meeting
remotely, socially distanced in-person meetings may be held.

Employee workstations should be properly distanced so that employees may maintain a 6-foot
distance from one another, when possible. Consider installing physical barriers within main
offices, as needed. Consider using plastic rather than glass as the coronavirus has been shown to
survive on glass for 96 hours and for 72 hours on plastic (CCDPH Partner Call 5/14/2020).

Provide readily accessible cleaning and disinfecting supplies, access to handwashing facilities or
hand sanitizer, and gloves for employees, as appropriate. Maintain a regular cleaning and
disinfection schedule of frequently touched items, which may include phones, desktops, fax
machines or copiers, door handles, etc.

Where possible, provide each employee with a personal supply of office supplies, such
as staplers, tape dispensers, pens, and pencils, to eliminate transmission through shared
items. Any shared office supplies should be disinfected after each use. Staff workrooms and
lounges also must adhere to 6-foot distancing. Consider capacity limitations, depending on the
size of the space and availability of seating. Make cleaning supplies available and establish
protocols for cleaning frequently touched items, such as copy machines, table surfaces,
refrigerator door handles, microwaves, coffee makers, etc. Consider removing any
items that cannot be properly cleaned and disinfected for reuse. Consider providing disposable
plastic utensils. Post signs regarding proper hand hygiene, capacity limits, and other protocols.

Student Transportation
Schools and districts should create procedures to assure compliance with all applicable
expectations under state and federal guidelines. All individuals on a bus must wear a face
covering, no more than 50 individuals should be on a bus at one time, and social distancing must
be maintained to the greatest extent possible. Students must undergo symptom and temperature
checks, which may include self-certification, before boarding a bus. These procedures may need
to be updated regularly. Students and families should be aware of procedures and expectations
regarding transportation.

Drivers and monitors must wear approved and appropriate PPE and perform regular hand
hygiene. See Appendix F for information regarding PPE. Drivers and monitors must undergo
symptom and temperature checks or self-certify and verify that they are free of symptoms before
the start of each workday. Drivers and monitors who have a temperature greater than 100.4
degrees Fahrenheit/38 degrees Celsius or symptoms of COVID-19 may not work. Drivers and
monitors who become ill during their route should contact their supervisor immediately.


                                                 41

                                                                       Exhibit 9: Page 42 of 63
All individuals on a bus must wear a face covering. Student transportation should apply the most
feasible social distancing guidelines. The CDC recommends that entities should “create distance
between children on school buses …when possible.” No more than 10 individuals may be on a
vehicle at any one time during Phase 3. No more than 50 individuals may be on a vehicle at any
one time during Phase 4. All physical changes to school transportation vehicles must meet
Illinois Department of Transportation (IDOT) and Secretary of State rules and regulations.

Districts are encouraged to provide visual guides to ensure that students comply with
expectations set forth by the IDPH (e.g., floor decals, colored tape, or signs to indicate where
students should not sit or stand may be used to assist in compliance).

Seating charts are also recommended. Seating arrangements with respect to social distancing can
be adjusted for students who live in a household with other students. Schools and districts are
encouraged to monitor students at school loading and unloading zones. IEP or 504 teams should
meet to determine individual transportation needs for students who require special
accommodations.

Considerations should be given to the provision of appropriate supplies to prevent the spread of
COVID-19 (e.g., hand sanitizers, gloves, face coverings, tissues, and trash receptacles).

All required IDOT inspections should occur. In addition, sanitization should be completed
daily or between use on all vehicles used for student transportation. Individuals should disinfect
vehicles using only products that meet the EPA criteria and manufacturers’ guidelines.

Physical Education, Gymnasiums, Pools, and Locker Rooms
Physical activity can support students’ overall health and well-being and help reduce stress and
anxiety. Face coverings must be worn. No more than 10 individuals may be in one space at any
one time during Phase 3. No more than 50 individuals may be in one space at any one time
during Phase 4. Activities must allow for 6-foot distance between students as much as possible.
Games and sport activities that require close guarding and any potential physical contact with
another player must be avoided in order to comply with IDPH requirements. Whenever feasible
and weather permitting, educators should select outdoor physical education activities that allow
natural social distancing.

If physical education must be taught inside, consider using separate partitions in open spaces,
utilizing markings on the gymnasium floor/wall/field to maintain distance between participants.
Hand shaking, high fives, or other physical contact is prohibited. It is recommended that
educators have access to technology to broadcast instruction to maximize social distancing (e.g.,
megaphone or microphone).

Schools and districts with pools must follow IDPH guidance on swimming facilities.

Districts should consider eliminating the need for use of locker rooms, as well
as allowing students to participate in activities without changing clothing. Shoe changes can be


                                                 42

                                                                       Exhibit 9: Page 43 of 63
done in the classroom prior to arrival in PE. Lockers that are used should not be shared, and
showers should not be required for activities.

The use of shared equipment is not recommended. Any shared equipment must be
cleaned between each student use and disinfected at the end of each class. Fitness center
equipment, such as treadmills, ellipticals, stationary bicycles, weights, etc., should be
cleaned and sanitized before and after each class. Focus on frequently touched surfaces, such
as keypads, hand weights, handles, etc. Maintaining 6-foot distance between participants may
include using only every other treadmill/bicycle or installing dividers between each machine or
equipment piece.

Students and staff should perform hand hygiene at the start and end of each class period or when
hands are visibly dirty. Students should also perform hand hygiene after the use of each piece
of equipment.

Illness and Diagnoses Monitoring
Schools should institute a tracking process to maintain ongoing monitoring of individuals
excluded from school because they have COVID-19-like symptoms, have been diagnosed with
COVID-19, or have been exposed to someone with COVID-19 and are in quarantine. Tracking
ensures CDC and local health authority criteria for discontinuing home isolation or quarantine
are met before a student or staff member returns to school. Tracking methods include checking in
with the school nurse upon return to school to verify resolution of symptoms and that any other
criteria for discontinuation of quarantine have been met. Tracking should take place prior to a
return to the classroom. Schools should communicate this process to all members of the school
community prior to the resumption of in-person learning. This communication should be
translated into the languages appropriate for the communities served.

Continual communicable disease diagnosis monitoring and the monitoring of student and staff
absenteeism should occur through collaboration of those taking absence reports and school
nurses/school health staff. Employees and families must be encouraged to report specific
symptoms, COVID-19 diagnoses, and COVID-19 exposures when reporting absences. Districts
should maintain a current list of community testing sites to share with staff, families, and
students. Districts must be prepared to offer assistance to local health departments when contact
tracing is needed after a confirmed case of COVID-19 is identified. This may include activities
such as identifying the individual’s assigned areas and movement throughout the building.

Confirmed cases of COVID-19 should be reported to the local health department by the school
nurse or designee as required by the Illinois Infectious Disease Reporting requirements issued by
IDPH. Districts should inform the school community of outbreaks per local and state health
department guidelines while maintaining student and staff confidentiality rights.

Mental Health
Considerations should be given to the impact that COVID-19 has had on the mental health of
faculty, staff, students, and their families. Consider monitoring the mental and emotional well-

                                                43

                                                                      Exhibit 9: Page 44 of 63
being of students and staff members. Districts are encouraged to provide training to staff to
increase awareness of the impact of COVID-19. Access to school counselors and supports should
be as readily available as possible and communicated to students. Consider developing and
implementing a crisis management team to provide supports, as needed, to staff and
students. Provide support services to staff members (e.g., employee assistance programs).

Napping/Rest Time
Ensure that children’s naptime mats and cots are spaced at least 6 feet apart as much as possible.
Consider placing children head to toe to further reduce the potential for viral spread. Use bedding
(sheets, pillows, blankets, sleeping bags) that can be washed weekly. Keep each child’s bedding
separate and stored in individually labeled bins, cubbies, or bags. Label cots and mats
individually for each child.

Instructional (Self-Contained) Classrooms Housing Students Who Are
Medically Fragile or May Have Behavioral, Developmental, or Emotional
Challenges
The risk of infectious disease exposure may be much higher for staff providing care
for medically fragile students. Districts should provide appropriate PPE for continuous wear and
during procedures (e.g., gowns and face shields during aerosolizing procedures). Maintaining
strict social distancing will not likely be feasible due to the personal nature of common care and
services, including feeding, toileting, suctioning, position changes, diaper changing, hand-over-
hand assistance, physical therapy, occupational therapy. Appropriate PPE should be used in
conjunction with appropriate hand hygiene and standard precautions.

Consider locations where specialized procedures (such as suctioning and tube feedings) currently
occur, which may be in the classroom. Evaluate if this is safe to continue or should be moved to
a clean area of the health office.

Plan for acute respiratory treatment care using up-to-date standards of care. Nebulizer treatments
and suctioning are identified by the CDC as aerosol-generating procedures and require an N95
mask fitted to the health care worker. See CDC Guidance for Aerosol Generating Procedures.

Related Services for Students (OT/PT, Speech, Social Work Services, etc.)
Consider telehealth visits, if possible. Limit the number of therapists in the therapy room if on-
site visits are needed or consider an alternative space for movement. Face coverings must be
worn and social distance must be maintained, when possible. Add visual markers on the floor to
aid in social distancing. Materials (e.g., Lycra tunnel or other porous materials, sensory swing,
carpet squares, foam items) must be cleaned and sanitized between uses with enough time to let
the material properly dry.

In-person instruction at home is allowed for medically homebound students. Find additional
information on homebound instruction here.


                                                44

                                                                      Exhibit 9: Page 45 of 63
Before- and After-Care and Other Programs
Many schools house before- and after-school programs administered by school districts or
external entities. Visitors and the use of school facilities by external parties should be
discouraged as much as possible, but some programs, such as child care, are critical to the
communities they serve. Child care programs in schools, even if deemed license-exempt, should
follow the IDPH and DCFS guidance for licensed child care facilities. Child care should be
available for all families that need it in Phases 3 and 4 (not restricted to only families of essential
workers as it was in Phases 1 and 2), according to the Restore Illinois Plan for Reopening Child
Care in Illinois. Child care programs in schools will be required to follow all infection control
measures that are used during the school day (e.g., social distancing when possible, face
coverings, cleaning, and sanitation).

Once requirements are determined, organizations and groups that wish to access a school’s
facilities should submit a plan that addresses procedures for program implementation during the
public health emergency. The school district and school nurse and/or other health-related
officials should review such plans to ensure conformance with school district procedures. School
districts may consider limiting or suspending non-critical in-person before- or after-school
programs (e.g., leisure-based programs, social clubs, etc.) or offer remote opportunities for
engagement.

Library Areas
Consider using the library space as a regular classroom if the school needs additional classroom
space to adhere to capacity limits and social distancing requirements. A district could also
stagger use of the library and disinfect it in between use. Consider delivering library items to
classrooms or having library staff visit classrooms or provide video presentations, such as library
instruction and read-a-louds.

Health Offices
Consider an appropriate health office space that allows for 6-foot distancing between students,
separation area for sick students, sink for hygiene, appropriate lighting, and proper ventilation. A
bathroom within or near the space is also recommended. Consider proper ventilation; open
windows for fresh air, when possible. Consider use of plastic barriers around staff desks and
between student care areas or curtains and the implementation of two separate entrances to the
health office space to allow one to be used by students without illness symptoms and one to be
used by students with illness symptoms.

Provide a supervised quarantine space for students/staff who are experiencing COVID-19-like
symptoms and may be awaiting evaluation and/or pickup. Students must never be left alone and
must supervised at all times while maintaining necessary precautions within the quarantine
space. Judgment of nursing professionals or administrator/designee (in the absence of a nurse)
must determine who is placed in the quarantine space and the level of supervision (e.g.,
supervised by nurse or unlicensed personnel) required for persons within the quarantine space.
Nursing documentation would reflect student placement in the quarantine space.

                                                  45

                                                                         Exhibit 9: Page 46 of 63
Evaluate the current school health office space and determine if there is space for quarantine. If
space is not available, consider moving the school health work area to another larger location.
Consider restroom access for persons in the quarantine space and ensure cleaning of the restroom
is consistent with the quarantine space. Give preference to a room/space with an exterior door to
avoid the need for an ill person to move throughout the building on exit. The quarantine space
must be disinfected after it is occupied by a student and deep cleaned daily. Only essential staff
and students assigned to the space may enter. Students exhibiting COVID-19-like symptoms
must wear a face covering unless medically contraindicated. Per CDC Guidance, close off areas
used by a sick person; do not use these areas until after cleaning and disinfecting. Wait at least
24 hours before cleaning and disinfecting. If 24 hours is not feasible, wait as long as possible.

Supply school nurses and/or the administrator/designee working with individuals with illness
symptoms with appropriate PPE. School nurses should use PPE, including gloves and face
coverings, when interacting with students and staff. Appropriate PPE should be used in
conjunction with appropriate hand hygiene and standard precautions. Personal care aides
working with medically fragile students should wear PPE (e.g., face shields, face masks, and
gloves).

Implement strategies to reduce unnecessary visits from students, staff, and visitors; reduce health
office congestion; reduce exposure to infection; and allow for separation. Consider asking school
staff to call ahead or implement a pass or an online appointment process to ensure the capacity of
the health office can handle additional visits in areas of social distancing and separation. Persons
with common health conditions or those who need basic first aid should not report to the health
office but may be managed in the classroom/alternate setting. Provide staff with first aid
supplies, such as bandages and gauze, in the classrooms. In certain situations, students may need
to stay in place for an in-person evaluation by the school nurse.

Healthy students reporting to the health office for medical management, such as medications,
tube feeding, assessment of injury, or first aid, must be treated in a separate clean designated area
inside or outside the health office to prevent contact with potentially ill children. Plan for
medication/treatment schedules if students will not be present for in-person learning each day to
ensure students have adequate supplies at home and at school and that health office staff are clear
on student schedules to ensure medications and treatments are completed. Consider locations
where specialized procedures, such as suctioning and tube feedings, currently occur (which may
be in the classroom). Evaluate if these procedures are safe to continue in that space or should be
moved to a clean area of the health office.

Plan for acute respiratory treatment care using up-to-date standards of care. See CDC Guidance
for Aerosol Generating Procedures. Nebulizer treatments should be administered at home.
Consult with health care provider for alternate asthma medication delivery systems. Any asthma
action plans should be reviewed prior to student arrival at school. Staff should review the signs
and symptoms of respiratory distress, as well as how to respond to respiratory distress.
The health office must be routinely cleaned. High-touch surfaces in the health office must be
cleaned daily with a disinfectant noted to kill the coronavirus. Require hand hygiene between
each student encounter.

                                                 46

                                                                       Exhibit 9: Page 47 of 63
Parents, guardians, or other authorized individuals should pick up ill students within a reasonable
amount of time; students should not be allowed to utilize the school bus or public transportation
for the return to home.

Districts are encouraged to maintain a nurse in each building, if possible. Districts are
encouraged to maintain a list of substitute nurses to provide nursing services in case of nurse
absence, including prolonged absence due to COVID-19 diagnosis or exposure. In the absence of
a nurse, each school district’s administrators must determine who will be responsible for meeting
the health-related needs of students and staff.

Extracurriculars
Extracurricular activities must follow the IDPH requirements set forth for the school
setting, which include social distancing, appropriate use of PPE, limiting the number of
individuals in one space to 10 individuals during Phase 3 and to 50 or fewer in Phase 4, and
cleaning and disinfecting to prevent the spread of COVID-19.

Playgrounds
Playgrounds are closed during Phase 3. Playgrounds may be utilized during Phase 4; however,
districts may want to consider not allowing the use of playground equipment due to social
distancing requirements. Playground equipment that is to be used should be monitored, and the
number of students using each piece of equipment should be limited. Consider
staggering playground times to allow one class in a playground space at one time rather than
multiple classes playing together. Maintain appropriate cleaning of playground equipment. Any
equipment/items that cannot be cleaned should not be utilized. Discourage the sharing of toys.
High-touch surfaces made of plastic/metal, such as swings/slides, railings, and other play
structures, should be cleaned routinely and disinfected as per the most recent CDC guidance.

Students should perform hand hygiene prior to touching playground equipment and upon return
from the playground.

Auditorium/Multi-Purpose Rooms
Schools must limit the number of individuals in one space to 10 or fewer in fewer during Phase 3
or 50 or fewer during Phase 4. Limit the mixing of different classes of students in the space at
one time. Consider using auditoriums/multi-purpose rooms as regular classroom spaces to reduce
the number of students in regular classrooms and maximize social distancing. Ensure
auditoriums and multi-purpose rooms that are used are cleaned and sanitized daily and in
between groups as much as possible.

Career and Technical Education and Dual Credit
Develop procedures and protocols to properly clean and disinfect career and technical education
(CTE) equipment and workspaces. It may be impractical to individually disinfect all CTE

                                                47

                                                                      Exhibit 9: Page 48 of 63
materials, such as nails, wires, clay, etc., so consider having CTE students wear disposable
gloves when working with equipment. Individuals should wash their hands after removing their
gloves.

Some CTE students take courses at both the high school and a career center or community
college. When implementing modified schedules or Blended Remote Learning Days, consider
the needs of CTE and other dually enrolled students. Consider exposure risks when traveling to a
different school site and coming into contact with other groups. The CDC advises allowing
minimal mixing between groups. Districts should maintain a log of the sites that students visit.

Districts are advised seek legal consultation if students are participating in medically
related coursework, which requires clinical fieldwork experience.

If students are absent from school due to illness related to COVID-19, schools should take into
consideration the requirements for certifications/credentialing and obtainment of early college
credit. Districts should consider how a student’s coursework could be modified due to illness or
how field experience hours could be obtained when the student has recovered from COVID-19
illness and is cleared to return to school.

Districts should prohibit or limit the self-serving or sharing of food products in classes during
which students prepare food. Outside food/food products should not be brought in from home.
Districts are encouraged to seek guidance from their local health departments regarding
guidelines for food handling/consumption. Students should use disposable items whenever
possible and follow protocols in line with those of food service/cafeteria staff, which also
provides an additional in-context learning opportunity.

Field Trips
Field trips are discouraged until state and local health officials have determined that it is safe to
resume them. The CDC recommends pursuing virtual activities and events in lieu of field trips.
When safe to resume, allow minimal interaction of different groups of students. Ensure IDPH
requirements for social distancing, capacity limits, hand hygiene, and PPE both at the field trip
destination and during travel to and from the location are met.




                                                  48

                                                                         Exhibit 9: Page 49 of 63
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                                               54

                                                                    Exhibit 9: Page 55 of 63
         RESTORE ILLINOIS HEALTH REGIONS
                                                      Jo Daviess       Stephenson            Winnebago                                                10




                                                                                                                   Boone
                                                                                                                               McHenry


                                                                                    1
                                                                                                                                              Lake



                                                                 Carroll
                                                                                                                                      9
                                                                                                    Ogle
                                                                                                                                  Kane       DuPage

                                                                                                                                                  8                        11
                                                                                                                 DeKalb

                                                               Whiteside                      Lee
                                                                                                                                Kendall

                                                                                                                                                         7                 Cook

                            Rock Island                                        Bureau
                                                         Henry
                                                                 2
                                                                                                             LaSalle                               Will
                                                                                                                                 Grundy
                                  Mercer
                                                                                    Putnam
                                                                                                                                                      Kankakee
                                                                     Stark
                                                                                   Marshall
                      Henderson




                                                        Knox
                                                                                                                           Livingston
                                    Warren
                                                                                                                                                                Iroquois
                                                                      Peoria            Woodford




                                                                             Tazewell                                                     Ford
                        McDonough                                                                             McLean
                                                      Fulton
          Hancock


                                                                   Mason
                                  Schuyler                                                                                                                       Vermilion
                                                                                                               DeWitt Piatt             Champaign
                                                                                   Logan
                                                                    Menard
         Adams          Brown                         Cass


                                                         3
                                                                                                           Macon

                                                                                                                                          Douglas                      Edgar
                                                                     Sangamon                                              Moultrie

                    Pike
                                              Scott   Morgan
                                                                                    Christian
                                                                                                                                            6
                                                                                                                                          Coles
                                              Greene                                                             Shelby
                                                                                                                                                                 Clark
                                    Calhoun




                                                               Macoupin                                                               Cumberland
                                                                             Montgomery
                                                                                                       Fayette
                                               Jersey                                                                      Effingham
                                                                                                                                             Jasper              Crawford



                                                               Madison           Bond
                                                                                                                                 Clay
                                                                                                                                                 Richland           Lawrence

                                                                      4
                                                                                                             Marion
                                                                                 Clinton
                                                                                                                                                                  Wabash
                                                                                                                                                      Edwards




                                                               St. Clair                                                          Wayne
                                                                               Washington                   Jefferson
                                                      Monroe
                                                                                                               5
                                                                                                                                             White
                                                                Randolph           Perry                                     Hamilton

                                                                                                            Franklin

                                                                                 Jackson                   Williamson          Saline      Gallatin



                                                                                                              Johnson                     Hardin
                                                                                        Union
NORTHEAST                                                                                                                     Pope

NORTH-CENTRAL
                                                                                        Alexander




                                                                                                     Pulaski Massac
CENTRAL
SOUTHERN
                                                                                 54
                                                                                                                                      Exhibit 9: Page 56 of 63
                                                           Phase 4 Transition Guide



• Communicate new safety protocols • Consider the location of institute            • Ensure that an adequate closure to • Communicate new safety
  to all staff in advance.              days for the start of year                   the 2019-20 year has taken place or   protocols to include health related
• Food service logistical preparation   professional development, if social          is scheduled.                         attendance and exclusionary
  of kitchens and food service in       distancing is still required.              • Conduct intake assessment survey.     criteria and any new schedules to
  classroom vs. in cafeteria as IDPH/ • Professional development should                                                    all staff in advance.
  CDC recommends.                       address topics congruent with                                                    • Share Transition Plans with
                                        district needs based on the intake                                                 the community through direct
                                        survey.                                                                            communications, including phone
                                                                                                                           call, text message, and email.


                                                           Prior to student and teacher arrival

• Implement appropriate cleaning of       • Ensure all staff receive any           • Ensure that an adequate closure to • Communicate new safety
  facilities over summer and prepare        relevant training, including any         the 2019-20 year has taken place or   protocols to include health related
  schedule for the year.                    OSHA training or hygiene training.       is scheduled.                         attendance and exclusionary
• Train building and grounds staff on     • Vertical articulation time for         • Conduct intake assessment survey.     criteria and any new schedules to
  any new sanitation protocols.             teachers to meet.                                                              all staff in advance.
• Train food service staff on serving     • Staff time for teachers to prepare                                           • Share Transition Plans with
  guidelines.                               their classroom and close out any                                              the community through direct
• Move in staff, relocate furniture,        items from last year.                                                          communications, including phone
  assess building preparedness for        • Coordinating comprehensive                                                     call, text message, and email.
  student arrival.                          professional development
• Prepare bus service to comply with        opportunities with all employees.
  IDPH/CDC requirements.


                                                            1st week of in-person instruction

• All service providers, cleaning         • Consider the location of institute     • Ensure that an adequate closure to • Continue parent education and
  personnel, food service staff are all     days for the start of year               the 2019-20 year has taken place or  communications for start of the
  back to in-person work with fully         professional development, if social      is scheduled.                        year information.
  established new structures and            distancing is still required.          • The typical spring time "Step Up
  protocols                               • Professional development should          Day" to meet the new teacher,
                                            address topics of:                       school, and classmates should be
                                            - Assessing learning                     considered as a back to in-person
                                            - Assessing learning gaps                instruction event for students
                                            - Supporting SEL initiatives             entering a new building, following
                                             - Addressing Incomplete grades          IDPH requirements.
                                            from 2019-20


                                                            2nd week of in-person instruction

• Assess effectiveness of school          • Focus early institute days and early   • Majority of students are in full grade   • Update families and communities
  service protocols and make any             dismissals to provide staff time to     level routines and structures.             on the start of the year experiences
  necessary revisions.                       focus on:                               Students who are not regularly             and events that have taken place.
                                           - Unit planning for 1st quarter/          attending should be identified and       • Focus on reassuring parents,
                                             semester.                               provided additional supports.              offering resources, and moving
                                           - Adjust Pacing Guides for rest of      • Schools may consider a rolling             forward through the rest of the 1st
                                             year based on standards                 entry for populations of students          quarter/semester
                                           - Re-engagement of teaching and           such as half days or modified
                                             learning                                schedules.


                                                            3rd week of in-person instruction

• Routines are established and            • Expand on supporting students          • Students know where to get help          • Individual meetings with parents
  regularly reviewed based on IDPH          through relationship building as         as needed, but almost all are fully        to discuss student achievement
  requirements.                             content and instruction is provided      integrated into the school routine.        and individualized plans to support
                                            to greater degrees.                                                                 student learning and socio­
                                          • All Incomplete grades from 2019-                                                    emotional growth in school and at
                                            20 should be resolved or nearly                                                     home.
                                            resolved.




                                                                                 55                                   Exhibit 9: Page 57 of 63
Student: ______________________________________________________________________
Parent/Guardian who was contacted:
_______________________________________________
Verify address: ______________________________________________________________
Verify preferred contact information:_____________________________________________
Verify preferred contact language in which to receive school communications:
_____________________________________________________________________________
Verify emergency contacts or persons to contact in case of student illness:
_____________________________________________________________________________
Reminder: If immunizations are due, students cannot attend unless there are
immunizations on file or an appropriate exemption by _________________.
What impact has the pandemic had on the family?

      ❏ Illness: ______________________________________________________________

      ❏ Death: ______________________________________________________________

      ❏ Economic: ____________________________________________________________

      ❏ Other: _______________________________________________________________

Are the parents/guardians employed? ❏ Yes ❏ No

      ❏ Medical service provider?

      ❏ First responder?

Is the student employed? ❏ Yes ❏ No

If so, what schedule? ____________________________________________________________
What educational activities has the student been engaged in since school was last in
session?
_____________________________________________________________________________

                                            56

                                                               Exhibit 9: Page 58 of 63
Is there access to reliable internet in the home? ❏ Yes ❏ No

Is there access to a reliable computer in the home? ❏ Yes ❏ No

Does the family have access to reliable transportation (not school-provided) to bring the
student to and from school? ❏ Yes ❏ No

Does the family have any specific needs that the district might be able to assist?
_____________________________________________________________________________
Are there any concerns regarding the student returning to school?
_____________________________________________________________________________

❏ Verify possession of district property and remind them to return.

Follow-Up Contact by/for:

❏ Free and Reduced-Lunch Eligibility

❏ Nurse

❏ Homeless Coordinator

❏ Counselor

❏ Other: _____________________________________________________________________

Adapted from Missouri School Boards' Association’s Center for Education Safety sample
survey form developed by the School-Based Health Alliance of Missouri.




                                             57

                                                                 Exhibit 9: Page 59 of 63
Appendix D


                          Schedules to Begin the School Year
Phase-In with Professional Learning
                          Monday            Tuesday              Wednesday         Thursday         Friday

Group 1:                  In-person         Remote               In-person         Remote           In-person
9th-12th Blue Team        Planning for      learning             Planning for      learning         Planning for
                          Teachers                               Teachers                           Teachers

Group 2:                  Remote            In-person            Remote            In-person        Remote
9th-12th Gold Team        learning          Planning for         learning          Planning for     learning
                                            Teachers                               Teachers

Full In-Person Instruction with Phase-In
                          Week 1                       Week 2                          Week 3

In-Person Instruction     Elementary School            Elementary and Middle           Elementary, Middle, High
                                                       School                          School

Remote Learning           Middle and High School       High School

You may choose to prioritize in-person instruction for transitional grades

                        Monday           Tuesday                Wednesday          Thursday         Friday

Week 1                  PreK-1st Grade   PreK-1st Grade         PreK-1st Grade     PreK-3rd Grade   PreK-3rd Grade
                        6th Grade        6th Grade              6th Grade          6th-7th Grade    6th-7th Grade
                        9th Grade        9th Grade              9th Grade          9th-10th Grade   9th-10th Grade

Week 2                  PreK-3rd Grade   All students
                        6th-7th Grade    returned
                        9th-10th Grade
                                                                                Exhibit 9: Page 60 of 63
                                                         58
Appendix E


                        Blended Remote Learning Schedules
Blended Remote Learning with Alternating Weeks
                         Week 1                                         Week 2

In-Person                Student Grouping #1                            Student Grouping #2
Instruction              Prioritized IEP, 504, EL Students              Prioritized IEP, 504, EL Students

Remote Learning          Student Group #2                               Student Group #1

Blended Remote Learning with AM/PM
                         8 a.m. - 11 a.m.                               12 p.m. - 3 p.m.

Student Grouping 1       In-Person Instruction                          Remote Learning

Student Grouping 2       Remote Learning                                In-Person Instruction

Prioritized IEP, 504,    In-Person Instruction                          In-Person Instruction
EL Students

Blended Remote Learning with Alternative Dates
                         Monday             Tuesday          Wednesday           Thursday          Friday

Prek-1st Grade           In-Person          In-Person        In-Person           In-Person         In-Person
                         Instruction        Instruction      Instruction         Instruction       Instruction

2nd-3rd Grade            In-Person          Remote           In-Person           Remote            In-Person
                         Instruction        Learning         Instruction         Learning          Instruction

4th-6th Grade            Remote             In-Person        Remote              In-Person         Remote
                         Learning           Instruction      Learning            Instruction       Learning

Prioritized IEP, 504,    In-Person          In-Person        In-Person           In-Person         In-Person
EL Students              Instruction        Instruction      Instruction         Instruction       Instruction

Elementary Face-to-Face and Secondary Remote Learning
                         Monday             Tuesday          Wednesday           Thursday          Friday

Elementary               In-Person          In-Person        In-Person           In-Person         In-Person
                         Instruction        Instruction      Instruction         Instruction       Instruction

Prioritized IEP, 504,    In-Person          In-Person        In-Person           In-Person         In-Person
EL Students              Instruction        Instruction      Instruction         Instruction       Instruction

Secondary                Remote             Remote           Remote              Remote            Remote
                         Learning           Learning         Learning            Learning          Learning

Full In-Person Instruction with Staggered A/B Schedules
                         Group 1 – A Schedule                           Group 2 – B Schedule

1st Period               8-9 a.m.                                       8:30-9:30 a.m.

2nd Period               9-10 a.m.                                      9:30-10:30 a.m.

3rd Period               10-11 a.m.                                     10:30-11:30 a.m.

Lunch                    11 a.m. - Noon (in classrooms)                 11:30 a.m. - 12:30 p.m. (in classrooms)

4th Period               Noon-1 p.m.                                    12:30-1:30 p.m.

5th Period               1-2 p.m.                                       1:30-2:30 p.m.

Dismissal                2-2:30 p.m.                                    1:30-2:30 p.m.
                                                                    Exhibit 9: Page 61 of 63
                                                   59
Appendix F


                    Personal Protective Equipment
                 Ensure that appropriate PPE is made available to and used by staff,
                         based on job-specific duties and risk of exposure.

Item                                        Examples

Face Coverings                              Types:
                                            https://www.cdc.gov/coronavirus/2019-ncov/hcp/using-ppe.html

                                                1. N95 masks
                                                2. Surgical masks
                                                3. Homemade masks/face coverings. The Illinois Department
                                                   of Public Health has provided guidance on when to where
                                                   a mask, how to construct a mask and how to care for
                                                   masks. https://www.dph.illinois.gov/covid19/community-
                                                   guidance/mask-use The U.S. Centers for Disease Control
                                                   and Prevention (CDC) now recommends wearing cloth face
                                                   coverings in public settings where other social distancing
                                                   measures are difficult to maintain (e.g., grocery stores and
                                                   pharmacies), especially in areas of significant community-
                                                   based transmission. CDC also advises the use of simple
                                                   cloth face coverings to slow the spread of the virus and
                                                   help people who may have the virus and do not know it from
                                                   transmitting it to others.


Eye and Face                                Types:
Protective Tools                            https://www.cdc.gov/niosh/topics/eye/eye-infectious.html

                                                1. Face Shields
                                                2. Safety Goggles
                                                3. Safety Glasses


Gloves                                      Types:

                                                1. Surgical gloves
                                                2. Nitrile gloves
                                                3. Food service gloves
                                                4. Plastic gloves


Isolation Gown                              Guidance for Schools
                                            https://dph.illinois.gov/topics-services/diseases-and-
                                            conditions/diseases-a-z-list/coronavirus/schools-guidance


Cleaning Supplies/Disinfectant              Normal janitorial cleaning and disinfectant supplies probably are
                                            sufficient, but preference should be given to items on USEPA's
                                            List N: Disinfectants for use against SARS CoV 2.
                                            https://www.epa.gov/pesticide-registration/list-n-disinfectants-
                                            use-against-sars-cov-2


Soap                                        Regular soap is sufficient provided individuals washes their
                                            hands for twenty seconds using soap and warm water.


Thermometers                                Non-contact thermometers preferred.


Hand Sanitizer                              Hand sanitizer should contain at least 60 to 95% alcohol
                                                                    Exhibit 9: Page 62 of 63
                                              60
Exhibit 9: Page 63 of 63
